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                                      #:5781




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11

12    Attorneys for Plaintiff LUIS
      LORENZO VARGAS
13
                              UNITED STATES DISTRICT COURT
14
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16
      LUIS LORENZO VARGAS,                                 Case No. 2:16-cv-08684-SVW-AFM

17
                             Plaintiff, DECLARATION OF BRETT
                                        BOON, Esq. IN SUPPOT OF
18
               v.                       PLAINTIFF’S OPPOSITION TO
                                        DEFENDANTS’ SUMMARY
19
                                        JUDGMENT MOTION
      CITY OF LOS ANGELES; LOS
20
      ANGELES POLICE                    HON. STEPHEN V. WILSON
      DEPARTMENT; COUNTY OF LOS
      ANGELES; OFFICE OF THE LOS        CTRM 10A
21    ANGELES DISTRICT ATTORNEY;
22
      LOS ANGELES SHERIFF’S             Date:            June 17, 2019
      DEPARTMENT; MONICA
      QUIJANO; RICHARD TAMEZ;           Time:            3:30 pm
23    SCOTT SMITH; AND DOES 1-10        Complaint Filed: November 12, 2016
24
      INCLUSIVE,                        Trial Date:      June 25, 2019
25
                          Defendants.

26
      ________________________________________________________________________________________________________
                                                        ___
27                                                                                      Page 1 of 3
      DECLARATION OF BRETT BOON
28
     Case 2:16-cv-08684-SVW-AFM Document 215-1 Filed 05/27/19 Page 2 of 89 Page ID
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 1    I, BRETT A. BOON, declare and state as follows:

 2
            1. I am over the age of 21 and not a party to this action. I am one of the
 3
               attorneys of record representing Plaintiff LUIS LORENZO VARGAS.
 4
            2. I make this declaration based on my personal knowledge. For those matters
 5
               which I lack personal knowledge, I make them based on information and
 6
               belief. If called to testify, I would competently testify to each matter set forth
 7
               herein.
 8
            3. I personally attended the deposition of Los Angeles Police Departments
 9
               FRCP, R. 30(b)(6) designee in this case, Detective Dan Jenks. Attached as
10
               Exhibit 1 is a true and correct copy of the transcript from his deposition.
11
            4. Upon receipt of Defendants’ Motion for Summary Judgment, I reached out
12
               to Mr. Geoffrey Plowden, counsel for Defendants to request that the Motion
13
               be rescheduled because the minimum 28-day notice requirement as
14
               prescribed by Local Rule had not been met. Mr. Plowden refused. A true and
15
               correct copy of my email is attached hereto as Exhibit 2.
16
      ///
17
      ///
18
      ///
19
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      ///
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      ///
26
      ________________________________________________________________________________________________________
                                                        ___
27                                                                                      Page 2 of 3
      DECLARATION OF BRETT BOON
28
     Case 2:16-cv-08684-SVW-AFM Document 215-1 Filed 05/27/19 Page 3 of 89 Page ID
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 1        5.   Thereafter, Mr. Plowden reiterated Defendants’ position that Plaintiff’s
 2             Opposition to the instant Motion was due by May 22nd. In response, I
 3             explained Plaintiff’s position in light of Court Orders and Local Rule, and
 4             which is further set forth in the instant Opposition. A true and correct
 5             copy of my aforementioned email is attached hereto as Exhibit 3. Mr.
 6             Plowden did not respond.
 7

 8             I declare under penalty of perjury under the laws of the state of California
 9    that the foregoing is true and correct. Executed on May 27, 2019 in San Diego,
10    California.
11
                                          /s/ Brett A. Boon
12
                                            Brett A. Boon, Esq.
13

14

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26
      ________________________________________________________________________________________________________
                                                        ___
27                                                                                      Page 3 of 3
      DECLARATION OF BRETT BOON
28
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       DETECTIVE DAN JENKS - 10/12/2017




        · · · · · · UNITED STATES DISTRICT COURT

        · CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION




        ·LUIS LORENZO VARGAS,· · · · ·)
        · · · · · · · · · · · · · · · )
        · · · · ·PLAINTIFF,· · · · · ·)
        · · · · · · · · · · · · · · · )
        · · VS.· · · · · · · · · · · ·)· NO. 2:16-CV-08684-
        · · · · · · · · · · · · · · · )· · · SVW-AFM
        ·CITY OF LOS ANGELES; LOS· · ·)
        ·ANGELES POLICE DEPARTMENT;· ·)
        ·MONICA QUIJANO; RICHARD· · · )
        ·TAMEZ; AND DOES 1-10,· · · · )
        ·INCLUSIVE,· · · · · · · · · ·)
        · · · · ·DEFENDANTS.· · · · · )
        ·_____________________________)




        · · ·VIDEOTAPED DEPOSITION OF DETECTIVE DAN JENKS

        · · · · · · ·THURSDAY, OCTOBER 12, 2017




        JOB NO. 112749

        REPORTED BY:· SAMANTHA AVENAIM, CSR 10627



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                           IN THE MATTER OF:



                        LUIS LORENZO VARGAS
                                       VS.

                         CITY OF LOS ANGELES



                         DETECTIVE DAN JENKS



                            OCTOBER 12, 2017



                                JOB # 112749
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       DETECTIVE DAN JENKS - 10/12/2017

   ·1· DEPOSITION OF DETECTIVE DAN JENKS, TAKEN ON BEHALF

   ·2· OF THE PLAINTIFF AT 316 WEST 2ND STREET, SUITE 200,

   ·3· LOS ANGELES, CALIFORNIA, COMMENCING AT 9:57 A.M.,

   ·4· ON THURSDAY, OCTOBER 12, 2017, BEFORE SAMANTHA

   ·5· AVENAIM, CSR 10627.

   ·6

   ·7· APPEARANCES OF COUNSEL:

   ·8· · · FOR THE PLAINTIFFS:

   ·9·   ·   ·   ·   ·   ·   LAW OFFICE OF JAN STIGLITZ
   · ·   ·   ·   ·   ·   ·   BY:· JAN STIGLITZ, ESQ.
   10·   ·   ·   ·   ·   ·   225 CEDAR STREET
   · ·   ·   ·   ·   ·   ·   SAN DIEGO, CALIFORNIA 92101
   11·   ·   ·   ·   ·   ·   (619) 525-1697
   · ·   ·   ·   ·   ·   ·   JSTIGLITZ@CWSL.EDU
   12
   · ·   · · · · · · · ·--AND--
   13
   · ·   ·   ·   ·   ·   ·   BENNER & BOON, LLP
   14·   ·   ·   ·   ·   ·   BY:· BRETT A. BOON, ESQ.
   · ·   ·   ·   ·   ·   ·   542 15TH STREET
   15·   ·   ·   ·   ·   ·   SAN DIEGO, CALIFORNIA 92101
   · ·   ·   ·   ·   ·   ·   (619) 358-9779
   16·   ·   ·   ·   ·   ·   BRETT@BENNERBOON.COM

   17
   · ·   · · FOR THE DEFENDANTS:
   18
   · ·   ·   ·   ·   ·   ·   DEPUTY CITY ATTORNEY
   19·   ·   ·   ·   ·   ·   POLICE LITIGATION UNIT
   · ·   ·   ·   ·   ·   ·   BY:· SUREKHA A. PESSIS, ESQ.
   20·   ·   ·   ·   ·   ·   CITY HALL EAST
   · ·   ·   ·   ·   ·   ·   200 NORTH MAIN STREET
   21·   ·   ·   ·   ·   ·   ROOM 600
   · ·   ·   ·   ·   ·   ·   LOS ANGELES, CALIFORNIA 90012
   22·   ·   ·   ·   ·   ·   (213) 978-7036
   · ·   ·   ·   ·   ·   ·   SUREKHA.PESSIS@LACITY.ORG
   23

   24· · · ALSO PRESENT:

   25· · · · · · ·SAM LEE, VIDEOGRAPHER


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       DETECTIVE DAN JENKS - 10/12/2017

   ·1· · · · · · · · · · I N D E X

   ·2

   ·3· WITNESS· · · · · ·EXAMINATION· · · · · ·PAGE

   ·4· DETECTIVE DAN JENKS

   ·5· · · · · · · · · · MR. BOON· · · · · · · 5

   ·6· · · · · · · · · · MS. PESSIS· · · · · · 64

   ·7

   ·8

   ·9· · · · · · · · · · E X H I B I T S

   10· NO.· · · PAGE· · ·DESCRIPTION

   11· EX 31· · 9· · · · PLAINTIFF'S SECOND AMENDED NOTICE

   12· EX 32· · 63· · · ·DEFENDANT'S OBJECTIONS TO
   · · · · · · · · · · · PLAINTIFF'S SECOND AMENDED NOTICE
   13· · · · · · · · · · OF DEPOSITION

   14· EX 33· · 65· · · ·DEFENDANT LOS ANGELES POLICE
   · · · · · · · · · · · DEPARTMENT'S SUPPLEMENTAL
   15· · · · · · · · · · RESPONSES AND OBJECTIONS

   16· EX 34· · 67· · · ·DETECTIVE OPERATION MANUAL

   17· EX 35· · 69· · · ·MEMORANDUM NUMBER 1

   18

   19
   · · · · · · ·QUESTIONS INSTRUCTED NOT TO ANSWER:
   20
   · · · · · · · · · · · · · ·(NONE)
   21

   22
   · · · · · · · · · INFORMATION REQUESTED:
   23
   · · · · · · · · · · · · · ·(NONE)
   24

   25


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        DETECTIVE DAN JENKS - 10/12/2017

    ·1· · · · · · · · ·LOS ANGELES, CALIFORNIA
    ·2· · · · ·THURSDAY, OCTOBER 12, 2017; 9:57 A.M.
    ·3
    ·4
    ·5· · · · · ·THE VIDEOGRAPHER:· Good morning.· We are on
    ·6· the record at 9:57 A.M.
    ·7· · · · · ·Today's date is October 12, 2017.· My name
    ·8· is Sam Lee.· I'm the video technician with Personal
    ·9· Court Reporters, located in Van Nuys, California.
09:57 10· · · · · ·We are recording this proceeding at 316
    11· West 2nd Street, Los Angeles, California.· This is
    12· Media One for the video deposition of Detective Dan
    13· Jenks in the action entitled "Louis Lorenzo Vargas
    14· versus the City of Los Angeles."
09:57 15· · · · · ·This deposition is being taken on behalf of
    16· the plaintiffs.· The case number is
    17· 2:16-ED-08684-SVW-AFM.
    18· · · · · ·May I please have introductions for the
    19· record, beginning with counsel.
09:57 20· · · · · ·MR. BOON:· Good morning.· My name is Brett
    21· Boon.· I represent the plaintiff in this action.
    22· · · · · ·MS. PESSIS:· Good morning.· Deputy City
    23· Attorney Surekha Pessis, counsel for the defendant
    24· and for nonparty Detective Jenks.
09:58 25· · · · · ·THE WITNESS:· Detective Dan Jenks,


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         DETECTIVE DAN JENKS - 10/12/2017

     ·1· Los Angeles Police Department.
     ·2· · · · · ·THE VIDEOGRAPHER:· Thank you.
     ·3· · · · · ·Ms. Reporter, would you now swear in the
     ·4· witness.
     ·5
     ·6· · · · · · · · · DETECTIVE DAN JENKS,
     ·7· · · · · · · ·CALLED AS A DEPONENT AND SWORN IN BY
     ·8· · · · · THE DEPOSITION OFFICER, WAS EXAMINED
     ·9· · · · · · · · ·AND TESTIFIED AS FOLLOWS:
     10
     11· · · · · ·DEPOSITION OFFICER:· WILL YOU RAISE YOUR
     12· RIGHT HAND, PLEASE.
     13· · · · · ·DO YOU SOLEMNLY AFFIRM THAT THE TESTIMONY
     14· YOU SHALL GIVE IN THE CAUSE NOW PENDING WILL BE THE
     15· TRUTH, THE WHOLE TRUTH, AND NOTHING BUT THE TRUTH,
     16· SO HELP YOU GOD?
     17· · · · · ·THE WITNESS:· I DO.
     18
     19· · · · · · · · · · ·EXAMINATION
09:58 20· BY MR. BOON:
     21· · · Q.· ·Good morning, Detective Jenks.
     22· · · A.· ·Good morning.
     23· · · Q.· ·My name is Brett Boon.· I'm one of the
     24· attorneys who represent the plaintiff in this
09:58 25· action, Mr. Vargas.


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         DETECTIVE DAN JENKS - 10/12/2017

    ·1· · · · · ·And off the record, you had mentioned that
    ·2· you were recently deposed.· If I could ask you how
    ·3· many times have you been deposed?
    ·4· · · A.· ·As a city attorney expert or throughout --
09:58 ·5· · · Q.· ·Generally.
    ·6· · · A.· ·-- my career?
    ·7· · · Q.· ·Just generally, how many times have you sat
    ·8· for a deposition?
    ·9· · · A.· ·I think three times, maybe four.
09:58 10· · · Q.· ·Okay.· When was the most recent?
    11· · · A.· ·About a year or two ago.
    12· · · Q.· ·Okay.· I'll quickly go through just some
    13· ground rules for today.
    14· · · · · ·The objective is to make today as efficient
09:59 15· as possible.· And to do so, allow me, please, to
    16· finish my question before you respond, and I will
    17· allow you to finish your response before I ask
    18· another one.
    19· · · · · ·Understood?
09:59 20· · · A.· ·Understood.
    21· · · Q.· ·And our court reporter here today has
    22· difficulty picking up things like head nods or
    23· "mm-hmms" or gestures that we use in normal
    24· day-to-day conversation.
09:59 25· · · · · ·So if you could please answer with "yeses,"


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         DETECTIVE DAN JENKS - 10/12/2017

    ·1· "noes," or affirmative responses, it makes for a
    ·2· better transcript?
    ·3· · · · · ·Understood?
    ·4· · · A.· ·Understood.
09:59 ·5· · · Q.· ·Okay.· And you understand today, Detective
    ·6· Jenks, you're here to give your best testimony.
    ·7· · · · · ·Is there any reason today why you can't
    ·8· give your best testimony?· Any medications you're
    ·9· under or any other reason why you won't be able to
09:59 10· give your best testimony today?
    11· · · A.· ·No.
    12· · · Q.· ·Okay.· Following today's deposition --
    13· · · · · ·DEPOSITION OFFICER:· I'm Sorry.
    14· · · · · ·Do all counsel stipulate to waive the
    15· reporter on her read on and read off since this is a
    16· Federal case?
    17· · · · · ·MS. PESSIS:· That's fine.· We waive that on
    18· all of the --
    19· · · · · ·MR. BOON:· So stipulated.
10:00 20· · · · · ·MS. PESSIS:· -- on all of the depositions.
    21· · · · · ·DEPOSITION OFFICER:· Thank you.· Sorry to
    22· interrupt you.
    23· · · · · ·THE VIDEOGRAPHER:· Also, Ms. Surekha, could
    24· I have you get the mic, reverse it because it's
10:00 25· rubbing against the cloth there?· ·Thank you.


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         DETECTIVE DAN JENKS - 10/12/2017

    ·1· BY MR. BOON:
    ·2· · · Q.· ·Detective Jenks, following today's
    ·3· deposition, you're going to receive a transcript.
    ·4· · · · · ·You're going to have an opportunity review
10:00 ·5· that transcript, make any changes that you deem
    ·6· appropriate, corrections, edits.
    ·7· · · · · ·Just understand that any changes you do
    ·8· make, myself or any other attorneys in this case, if
    ·9· this matter proceeds to an evidentiary hearing such
10:00 10· as trial, will have an opportunity to point out
    11· those changes, point out those corrections, and ask
    12· you to verify or confirm why you made such
    13· corrections.
    14· · · · · ·Do you understand that?
10:01 15· · · A.· ·Yes.
    16· · · Q.· ·Now, I try to take a break at least once
    17· every hour.· But if at any time today you need a
    18· break, feel free to let me know and we will take
    19· one.· My only caveat is that you respond fully to
10:01 20· the question posed before taking a break.
    21· · · · · ·Do you understand?
    22· · · A.· ·Yes.
    23· · · Q.· ·Do you have any other questions for me
    24· before we get started?
10:01 25· · · A.· ·No.


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         DETECTIVE DAN JENKS - 10/12/2017

    ·1· · · Q.· ·What I'm going to do now is enter into
    ·2· Exhibit 1 the notice for today's deposition.· And
    ·3· actually this is Exhibit 31 in the record for this
    ·4· case, and then give you a copy.
10:01 ·5· · · · · · ·(Whereupon, Plaintiff's Exhibit 31
    ·6· · · · · · ·was marked for identification by
    ·7· · · · · · ·the Court Reporter.)
    ·8· BY MR. BOON:
    ·9· · · Q.· ·And we'll get to that in a minute.· I'm
10:02 10· going to enter it now as more of a formality and I'm
    11· going to ask you some more questions on that.
    12· · · · · ·And as another background item, Detective
    13· Jenks, if I ever give you a document throughout
    14· today's deposition, feel free to take however long
10:02 15· you need to review that document and become familiar
    16· with it, and I will pause my questioning until
    17· you're ready.
    18· · · · · ·Understood?
    19· · · A.· ·Yes.
10:02 20· · · Q.· ·Now, we're here today in the matter of
    21· "Louis Lorenzo Vargas v. City of Los Angeles," and
    22· we're going to refer throughout today's deposition
    23· to the Los Angeles Police Department.
    24· · · · · ·And we all understand if I say "L.A.P.D."
10:02 25· who I'm referring to; correct?


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         DETECTIVE DAN JENKS - 10/12/2017

    ·1· · · A.· ·Yes.
    ·2· · · Q.· ·Okay.· In addition, we're going to be
    ·3· referencing a specific time period in today's
    ·4· deposition.· That time period is from 1994 through
10:03 ·5· the year 2000, and you can see that on Page 2 of
    ·6· this document towards the bottom.
    ·7· · · · · ·But if there's any point in time during
    ·8· today's deposition where you are not -- where you
    ·9· have any question about the time period as it
10:03 10· pertains to the questions I'm asking, please feel
    11· free to ask me to clarify.
    12· · · · · ·Understood?
    13· · · A.· ·Yes.
    14· · · Q.· ·You have been designated, Detective Jenks,
10:03 15· as the person most knowledgeable for the L.A.P.D.
    16· · · · · ·Do you understand that?
    17· · · A.· ·Yes.
    18· · · Q.· ·Have you ever been -- excuse me.
    19· · · · · ·Have you ever been designated as the person
10:03 20· most knowledgeable for the L.A.P.D. before?
    21· · · A.· ·Yes.
    22· · · Q.· ·How many times?
    23· · · A.· ·I believe twice.
    24· · · Q.· ·Have either of those cases proceeded to
10:03 25· trial?


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         DETECTIVE DAN JENKS - 10/12/2017

    ·1· · · A.· ·No.
    ·2· · · Q.· ·Were you deposed in both of those cases?
    ·3· · · A.· ·I think just one.
    ·4· · · Q.· ·How long ago was that?
10:04 ·5· · · A.· ·The last year or two.
    ·6· · · Q.· ·Generally, what was that case about?· What
    ·7· were the allegations in that case, I guess is a much
    ·8· better question, as you understood them?
    ·9· · · · · ·MS. PESSIS:· I'm just going to object that
10:04 10· he may not have had an understanding of the
    11· allegations because, to me, that's sometimes
    12· irrelevant to his status as a P.M.K.
    13· · · · · ·But you can answer.
    14· · · · · ·THE WITNESS:· It had to do with a wrongful
10:04 15· conviction.
    16· BY MR. BOON:
    17· · · Q.· ·Do you remember the plaintiff's name in
    18· that case?
    19· · · A.· ·I believe one of them was Cole, I think.
10:04 20· · · Q.· ·Reggie Cole?
    21· · · A.· ·I believe he was one of them or was joined
    22· to that case, I believe.
    23· · · Q.· ·One last background clarification,
    24· Detective Jenks.· If at any point in time you need
10:04 25· to have a conversation with counsel, you are


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         DETECTIVE DAN JENKS - 10/12/2017

    ·1· absolutely within your rights to do so.· Again, I
    ·2· just ask that you respond to the question posed
    ·3· before taking a break.
    ·4· · · · · ·Understood?
10:05 ·5· · · A.· ·Before taking a break, but I can talk to
    ·6· her before I answer the question.
    ·7· · · Q.· ·I ask --
    ·8· · · A.· ·Before the break or --
    ·9· · · Q.· ·Same rules.· I ask that you respond to the
10:05 10· question and then if you need to confer with
    11· counsel, you can do so.
    12· · · · · ·MS. PESSIS:· Well, my --
    13· BY MR. BOON:
    14· · · Q.· ·Unless she instructs you otherwise.
10:05 15· · · · · ·MS. PESSIS:· Well, I believe the rules
    16· allow -- he is allowed to confer with me if he's
    17· concerned about the attorney-client privilege before
    18· answering your question.
    19· · · · · ·MR. BOON:· Of course.
10:05 20· BY MR. BOON:
    21· · · Q.· ·Have you seen this notice before today,
    22· Detective Jenks?
    23· · · A.· ·I believe so.
    24· · · Q.· ·Have you reviewed the categories on this
10:05 25· notice?


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    ·1· · · A.· ·Yes.
    ·2· · · Q.· ·Are you aware of and do you have a basic
    ·3· understanding of a person most knowledgeable's
    ·4· obligations to become familiar with categories that
10:05 ·5· he or she may be designated as a person most
    ·6· knowledgeable?
    ·7· · · · · ·MS. PESSIS:· Objection.· Lacks foundation.
    ·8· I'll just represent for the record that the City has
    ·9· designated Detective Jenks as the P.M.K. on Brady
10:06 10· training for the period of the mid '90s to the end
    11· of June of 2000, and that's stated in our
    12· objections, which I have in front of me.
    13· · · · · ·THE WITNESS:· I'm not aware of any specific
    14· material as to the definition of a P.M.K.· I only
10:06 15· know that I've been designated, and I tried to
    16· review the relevant materials.
    17· BY MR. BOON:
    18· · · Q.· ·What materials did you review, when you say
    19· "review the relevant materials," in preparation for
10:06 20· today's deposition?
    21· · · A.· ·I reviewed the current Brady material that
    22· are available to the department search engine.
    23· · · Q.· ·Did you also review any of those Brady
    24· materials as it pertained to the time period we're
10:07 25· talking about, 1994 to 2000?


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    ·1· · · A.· ·Yes.
    ·2· · · Q.· ·About how much time did you spend preparing
    ·3· for today's deposition, reviewing those materials or
    ·4· anything else you did to prepare?
10:07 ·5· · · A.· ·Oh, I would imagine four to six hours
    ·6· maybe.· Maybe eight total.
    ·7· · · Q.· ·Before we get into any substance, Detective
    ·8· Jenks, if I could just get a brief background on
    ·9· you.
10:07 10· · · · · ·What is your current position?
    11· · · A.· ·I'm a homicide detective at
    12· Robbery-Homicide, a Detective III supervising expert
    13· detective in the Gang Homicide Unit.
    14· · · Q.· ·How long have you held those positions?
10:07 15· · · A.· ·I've been a Detective III since 2005?
    16· · · Q.· ·How long have you been with the L.A.P.D.?
    17· · · A.· ·33 years.
    18· · · Q.· ·That's a long period of time, but if you
    19· can just give me the reader's digest version of your
10:07 20· history at the L.A.P.D.
    21· · · · · ·And, again, you're not a defendant or a
    22· witness in this case personally; so counsel may
    23· object to relevance, but I would just like to
    24· understand your background.
10:08 25· · · · · ·MS. PESSIS:· No.· That's fine.· I'm more


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    ·1· than happy for him to do that to the extent he
    ·2· remembers the approximate dates and positions.· Do
    ·3· you want him to start with when he began the
    ·4· academy?
10:08 ·5· BY MR. BOON:
    ·6· · · Q.· ·Whatever -- the reader's digest version of
    ·7· your history with the L.A.P.D. for all of our
    ·8· benefit in the room so we can know a little bit more
    ·9· about you as we go through today.
10:08 10· · · A.· ·I attended the Los Angeles Police Academy
    11· in 1984, graduated in March of '85, worked a year in
    12· Hollywood Division, and then did a short time
    13· working in Undercover Narcotics for three months,
    14· and then went to Southeast Patrol Division.
10:08 15· · · · · ·I worked there approximately three years
    16· until I made training officer.· I then went to
    17· Narcotics, I believe, in 1990 again as an
    18· investigator.
    19· · · · · ·I made detective, I believe, in '93.· And
10:09 20· then I went to South Bureau Homicide where I became
    21· a homicide detective in '94.
    22· · · · · ·I made sergeant in 1997.· I believe it was
    23· '98 I became a supervisor of a gang unit as a
    24· sergeant.· And then I reverted to detective at
10:09 25· Robbery-Homicide in August of '99, where I've been


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    ·1· ever since.
    ·2· · · Q.· ·And --
    ·3· · · · · ·MS. PESSIS:· That was the reader's digest
    ·4· version.
10:09 ·5· · · · · ·MR. BOON:· Yes.
    ·6· BY MR. BOON:
    ·7· · · Q.· ·And I promise I'm almost done with the
    ·8· background material before we get into substance,
    ·9· detective.
10:09 10· · · · · ·But, finally, throughout today's
    11· deposition, I may refer to the 77th Division within
    12· the L.A.P.D. or the Newton Division within the
    13· L.A.P.D., and I just want to make sure if I make
    14· those references, we're all on the same page and you
10:09 15· understand what I'm referring to.
    16· · · · · ·Yes.
    17· · · Q.· ·Okay.· I promised I had one more.· I have
    18· one more.· Did you bring any documents with you for
    19· today's deposition?
10:10 20· · · A.· ·Yes.
    21· · · Q.· ·Did you bring any documents with you to
    22· produce to me for today's deposition?
    23· · · A.· ·No.
    24· · · · · ·MS. PESSIS:· No.
10:10 25· · · · · ·MR. BOON:· Those are privileged documents?


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    ·1· · · · · ·MS. PESSIS:· Well, they might be copies of
    ·2· documents you already have.· We've produced the
    ·3· policies that he's looked at that I've provided to
    ·4· the detective, you have from discovery and
10:10 ·5· disclosures.
    ·6· · · · · ·MR. BOON:· So those are not documents to
    ·7· produce?
    ·8· · · · · ·MS. PESSIS:· Correct.
    ·9· BY MR. BOON:
10:10 10· · · Q.· ·For purposes of today's deposition, we're
    11· going to be talking about Brady, and you've already
    12· referenced it.
    13· · · · · ·I've referenced it in passing.· But to
    14· clarify for the record, when we make that reference,
10:10 15· we're talking about the supreme court case of "Brady
    16· v. Maryland."
    17· · · · · ·Understood?
    18· · · A.· ·Understood.
    19· · · Q.· ·And specifically, we're going to be talking
10:10 20· about the affirmative obligations that that case
    21· imposed upon government entities such as the
    22· L.A.P.D. or the district attorney, whomever it may
    23· be.
    24· · · · · ·Understood?
10:11 25· · · A.· ·Yes.


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    ·1· · · Q.· ·And again, I'm going to ask for a reader's
    ·2· digest version because you could give me probably a
    ·3· three-day narrative.· But what is your basic
    ·4· understanding of a government entity's obligations,
10:11 ·5· affirmative obligations, as set forth in the "Brady
    ·6· v. Maryland" case.
    ·7· · · · · ·MS. PESSIS:· I'm going to ask that you
    ·8· narrow the term "governmental entity" to a police
    ·9· department based on his training and understanding
10:11 10· of Brady --
    11· · · · · ·MR. BOON:· That's fine.
    12· · · · · ·MS. PESSIS:· -- as to the L.A.P.D. and not
    13· as to a prosecutor.
    14· BY MR. BOON:
10:11 15· · · Q.· ·We can narrow it to the L.A.P.D., same
    16· question.
    17· · · A.· ·My understanding is that we're required to
    18· turn -- we, as the investigators, are required to
    19· turn over any exculpatory evidence as it relates to
10:11 20· an investigation.
    21· · · Q.· ·Any exculpatory evidence to a criminal
    22· defendant?
    23· · · A.· ·Yes.· Through the prosecutor.
    24· · · Q.· ·Through the prosecutor?
10:12 25· · · A.· ·Yes.


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    ·1· · · Q.· ·So your understanding is that the
    ·2· L.A.P.D.'s obligation is to disclose or produce that
    ·3· information to the prosecutor?
    ·4· · · A.· ·Yes.
10:12 ·5· · · Q.· ·And your understanding is then that the
    ·6· prosecutor -- correct me if I'm wrong -- has then an
    ·7· obligation to disclose that information to the
    ·8· criminal defendant?
    ·9· · · · · ·MS. PESSIS:· Are you asking him if the
10:12 10· prosecutor determines that that information is Brady
    11· material?
    12· · · · · ·MR. BOON:· No.· Simply the chain, so to
    13· speak, of documents.
    14· BY MR. BOON:
10:12 15· · · Q.· ·The L.A.P.D. has an obligation, as you
    16· said, to turn this information over to the
    17· prosecutor.
    18· · · · · ·Is it your understanding, as you sit here
    19· today, that the prosecutor's obligation is to
10:12 20· disclose that information to the criminal defendant?
    21· · · · · ·MS. PESSIS:· May call for speculation.· May
    22· call for a legal conclusion.
    23· · · · · ·You can answer.
    24· · · · · ·THE WITNESS:· In our training material, it
10:12 25· explains that it's the prosecutor's obligation to


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    ·1· turn it over to the defendant's counsel.
    ·2· BY MR. BOON:
    ·3· · · Q.· ·So I guess for purposes of today, I don't
    ·4· want to talk about the D.A.'s obligations.· You
10:13 ·5· don't work for the D.A.· I want to talk about the
    ·6· L.A.P.D.'s obligations, then, as you understand
    ·7· them.
    ·8· · · · · ·And I guess the follow-up question is,
    ·9· then:· As you sit here today, do you understand that
10:13 10· at any point in time that obligation ends?· And, for
    11· instance, is there a triggering event such as a
    12· prosecution, a conviction, an appeal, or any
    13· triggering event in which the L.A.P.D.'s obligation
    14· to turn that information over to the D.A. ends?
10:13 15· · · · · ·MS. PESSIS:· I'm going to object to the
    16· question based on the court's ruling on the summary
    17· judgment and to the extent that it calls for a legal
    18· conclusion.
    19· · · · · ·You can answer, if you know.
10:13 20· · · · · ·THE WITNESS:· You have to give me the
    21· question one more time.· I think you said at the
    22· time that it ends?
    23· BY MR. BOON:
    24· · · Q.· ·Do you have an understanding -- and one
10:13 25· more piece of background as we go through today:


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    ·1· Counsel will make plenty of objections to the form
    ·2· of my questions.
    ·3· · · · · ·We don't have a judge at the end of the
    ·4· table here today.· When we're in court, there's a
10:14 ·5· judge who will sustain or will overrule objections
    ·6· and will tell you to answer or not to answer based
    ·7· on the judge's ruling.
    ·8· · · · · ·Because we don't have a judge, maybe it'll
    ·9· work out later.· So counsel may lodge objections,
10:14 10· but as long as she doesn't instruct you specifically
    11· not to answer, you should still answer the question.
    12· · · · · ·Understood?
    13· · · A.· ·Understood.
    14· · · Q.· ·So the question was:· Do you have an
10:14 15· understanding of if and when the L.A.P.D.'s Brady
    16· obligations end, and more specifically, is there a
    17· triggering event which ends those obligations?
    18· · · A.· ·Yes.
    19· · · Q.· ·What is your understanding of that?
10:14 20· · · A.· ·The training material says through trial,
    21· through the end of trial.
    22· · · Q.· ·Through the end of trial.
    23· · · · · ·Okay.· Peel that back.· What if there is an
    24· appeal?· Is your understanding that during the
10:15 25· pending appeal, the L.A.P.D. did not have those same


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    ·1· obligations?
    ·2· · · A.· ·The material does not discuss appeals.· It
    ·3· says through the end of trial.
    ·4· · · · · ·MS. PESSIS:· It might help if you clarify
10:15 ·5· what material he's referring to because my problem
    ·6· with the question is the judge has already framed
    ·7· the time period.
    ·8· · · · · ·So I don't think it's a proper question for
    ·9· a P.M.K., and there have been developments in the
10:15 10· law since the time period.· That's why I have a
    11· problem with the question.
    12· BY MR. BOON:
    13· · · Q.· ·Let me ask you this:· Have Brady
    14· obligations imposed on the L.A.P.D., as you
10:15 15· understand them, changed at all or significantly
    16· since the year 2000?
    17· · · A.· ·Yes.
    18· · · Q.· ·How so?
    19· · · A.· ·There's been additional training material.
10:15 20· The first piece of training material was in March of
    21· 2000, which discussed the '98 Brady case and what
    22· our obligations were.
    23· · · Q.· ·What do you mean -- can you clarify the '98
    24· Brady case?
10:16 25· · · A.· ·That's what's referenced in the materials,


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    ·1· Brady versus Maryland 1998.
    ·2· · · · · ·MS. PESSIS:· It's in a memo that we've
    ·3· produced.· I think it's a memorandum, counsel.
    ·4· · · · · ·THE WITNESS:· Memorandum Number 1.
10:16 ·5· · · · · ·MS. PESSIS:· Right.· March of 2000.· You
    ·6· should have that in the discovery materials.
    ·7· BY MR. BOON:
    ·8· · · Q.· ·I'm just trying to clarify the date, 1998.
    ·9· Is that an internal date -- the date of the memo?
10:16 10· That's not the date of the case; correct?
    11· · · A.· ·The memo was March 2000.
    12· · · Q.· ·Okay.· How in your understanding have,
    13· then, the L.A.P.D.'s Brady obligations changed since
    14· 2000?
10:16 15· · · A.· ·There's been additional orders put out more
    16· specific to officer's conduct and obligations and
    17· the ramifications of the Brady decision on officer's
    18· testimony and their field assignments.
    19· · · Q.· ·So I think you gave a couple things that I
10:17 20· want to ask follow-ups.· What do you mean
    21· specifically by "officer's conduct"?· You said one
    22· of the areas change since the year 2000 is officer's
    23· conduct.· Can you elaborate on that?
    24· · · A.· ·Yes.· To discus the officer's personal
10:17 25· conduct, their personnel histories, Pitchess


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    ·1· motions, and how that could affect their ability to
    ·2· testify in court, and that could affect their
    ·3· assignments.
    ·4· · · Q.· ·You also mentioned ramifications.· Can you
10:17 ·5· elaborate on that?
    ·6· · · A.· ·Yes.· It could affect your employability by
    ·7· the City if you're not -- if you're found -- it also
    ·8· discussed the district attorney's Brady policy, and
    ·9· then there was a follow-up memo which changed the
10:17 10· term from a Brady letter to a different, more
    11· generic term because the department can still put
    12· you into an assignment that does not require field
    13· contact or arrests or testimony without the
    14· letter -- the quote, unquote, Brady letter, from the
10:18 15· district attorney's office.
    16· · · Q.· ·Is that Brady letter -- would that be
    17· issued in a response to a -- we're talking about
    18· ramifications; so I'm making an assumption here, and
    19· I just want to make sure it's a correct one.
10:18 20· · · · · ·Is that Brady letter in response to a
    21· failure to uphold those Brady obligations or a
    22· falling short of the Brady obligations?· Can you
    23· just elaborate on that?
    24· · · A.· ·I don't know what the impetus for the order
10:18 25· was.· I just reviewed the order, and it's my


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    ·1· understanding, yeah.
    ·2· · · Q.· ·Does the L.A.P.D. maintain a record of
    ·3· officers, detective, or employees that have been
    ·4· reprimanded for Brady failures?
10:18 ·5· · · · · ·MS. PESSIS:· I'm just going to object that
    ·6· it is outside his purview.· That's an internal
    ·7· affairs question.· I think it calls for speculation.
    ·8· It also assumes facts that the department uses the
    ·9· term "Brady" in disciplinary proceedings.
10:19 10· · · · · ·You can answer, if you know.
    11· · · · · ·THE WITNESS:· The memo, I believe it's in
    12· 2009 or later, discussed changing the term from
    13· "Brady letter" to another legal term.
    14· · · · · ·So to answer your question, I don't know if
10:19 15· they maintain a Brady file, but there is a -- the
    16· acronym, I believe, is REMAC where they discuss an
    17· officer's viability for a field assignment, and then
    18· a letter will be produced and maintained by internal
    19· affairs or legal affairs or some entity within the
10:19 20· department.
    21· BY MR. BOON:
    22· · · Q.· ·What does REMAC stand for, for the record?
    23· Do you know?
    24· · · A.· ·I don't remember offhand, to be honest with
10:19 25· you.


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    ·1· · · Q.· ·That's fine.
    ·2· · · A.· ·I'm not good at acronyms.
    ·3· · · Q.· ·Have additional Brady obligations -- you
    ·4· talked about this 2000 memo.· Have additional Brady
10:19 ·5· obligations been imposed on the L.A.P.D. between
    ·6· 1994 and 2000?
    ·7· · · · · ·MS. PESSIS:· Other than what he's talked
    ·8· about?
    ·9· · · · · ·MR. BOON:· What he's talked about is since
10:20 10· the year 2000.
    11· BY MR. BOON:
    12· · · Q.· ·Now I'm going back a little bit from 1994
    13· to 2000.· And that -- go ahead.
    14· · · A.· ·The first document I'm aware of is from
10:20 15· March of 2000.· I could not locate any other
    16· documents.· I don't recall any training prior to
    17· 2000 that ever addressed the term "Brady."
    18· · · Q.· ·To clarify, prior to the year 2000, the
    19· L.A.P.D. had no training on Brady?
10:20 20· · · · · ·MS. PESSIS:· Objection; misstates the
    21· testimony.
    22· · · · · ·MR. BOON:· I'm asking for a clarification.
    23· · · · · ·THE WITNESS:· I'm not aware of any specific
    24· documents on Brady before 2000.
10:20 25· ///


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    ·1· BY MR. BOON:
    ·2· · · Q.· ·So as the P.M.K. designated on Brady
    ·3· material, you're not aware of any Brady training
    ·4· that the L.A.P.D. undertook prior to the year 2000?
10:20 ·5· · · · · ·MS. PESSIS:· Objection; vague as to the
    ·6· word "training," misstates the testimony.
    ·7· · · · · ·You may answer.
    ·8· · · · · ·THE WITNESS:· I am not aware of any
    ·9· documents before 2000 relating -- that specifically
10:21 10· used the term "Brady."
    11· BY MR. BOON:
    12· · · Q.· ·Did the L.A.P.D. conduct any course
    13· training?· And I understand that's a vague term, but
    14· by "course training," I mean classes, lectures,
10:21 15· course training.· I think we can all understand what
    16· I mean.
    17· · · · · ·Did the L.A.P.D. conduct any course
    18· training on Brady with its officers or detectives
    19· prior to the year 2000?
10:21 20· · · A.· ·I am not familiar with all course training
    21· for the department.· I'm not aware of any specific
    22· instructional blocks on the term "Brady" before
    23· 2000.
    24· · · Q.· ·Can you just clarify what you mean by
10:21 25· "instructional blocks"?


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    ·1· · · A.· ·Well, training is -- usually, there's a
    ·2· course syllabus which is required by the peace
    ·3· officers standard testing POST, and in that course
    ·4· syllabus usually it will give an instructor's name
10:21 ·5· and what that portion of the course would be about.
    ·6· They're broken up into blocks, a couple hours, a day
    ·7· maybe.
    ·8· · · · · ·I'm not aware of a course block prior to
    ·9· 2000 that specifically mentions Brady.
10:22 10· · · Q.· ·And I think -- and I'm just going to unwrap
    11· that.· Were you talking about a course block within
    12· the L.A.P.D. or a course block within POST training?
    13· · · A.· ·Several of our courses are L.A.P.D.
    14· training, certified by POST.
10:22 15· · · Q.· ·Do you know if prior to the year 2000 POST
    16· had within its curriculum Brady training?
    17· · · A.· ·I do not know the answer to that question.
    18· · · Q.· ·Do you know if prior to the year 2000 --
    19· and I may have already asked this -- prior to the
10:22 20· year 2000, if anywhere in L.A.P.D.'s training
    21· curriculum there was training on Brady?
    22· · · A.· ·Not that I'm aware of.
    23· · · Q.· ·And that includes all of L.A.P.D., and I'm
    24· talking Officer I to commanding officer and anywhere
10:23 25· in between; is that correct?


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    ·1· · · · · ·MS. PESSIS:· Vague as phrased.
    ·2· · · · · ·THE WITNESS:· I'm basing my opinion based
    ·3· on my knowledge at the time, and of the materials
    ·4· that I've reviewed I'm not aware of any.· But I
10:23 ·5· don't know what training command gets that I'm not
    ·6· privy to.
    ·7· BY MR. BOON:
    ·8· · · Q.· ·I understand.· Let me ask a better
    ·9· question.
10:23 10· · · · · ·Were there any Brady policies -- and I know
    11· that's a vague term -- in place prior to the year
    12· 2000 in which -- let me peel that back.
    13· · · · · ·You talked about since the year 2000
    14· there's a memo which instructs L.A.P.D. officers to
10:23 15· turn over Brady material to the D.A.; correct?
    16· · · A.· ·Prosecutor.
    17· · · Q.· ·Prosecutor; correct?
    18· · · A.· ·Yes.
    19· · · Q.· ·Okay.· And if I said "D.A.," "prosecutor,"
10:24 20· I'm using those interchangeably.
    21· · · A.· ·They're -- well, for us there's also a city
    22· attorney that prosecutes our cases.· So that's why
    23· we -- we turn over material to the city attorney and
    24· the district attorney depending if the case is a
10:24 25· misdemeanor or a felony.· So --


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    ·1· · · Q.· ·Okay.
    ·2· · · A.· ·-- "prosecutor's" a more general term for
    ·3· us.
    ·4· · · Q.· ·So I'll use "prosecutor," then.
10:24 ·5· · · · · ·So we talked about a memo in the year 2000
    ·6· in which the L.A.P.D. detailed or set forth their
    ·7· obligations to turn over the Brady material to a
    ·8· prosecutor; correct?
    ·9· · · A.· ·Correct.
10:24 10· · · Q.· ·Was there any similar memo on that topic
    11· prior to the year 2000?
    12· · · A.· ·Not that I'm aware of.
    13· · · Q.· ·Was there any instruction prior to the year
    14· 2000 --
10:24 15· · · · · ·MS. PESSIS:· Vague --
    16· BY MR. BOON:
    17· · · Q.· ·-- on that issue?
    18· · · · · ·MS. PESSIS:· I'm sorry.· Vague as to
    19· "instruction."
10:24 20· · · · · ·But can you answer, if you can.
    21· · · · · ·THE WITNESS:· Well, you're saying Brady
    22· issue, which is discovery.· We've always had
    23· training on discovery but not specific to Brady that
    24· I'm aware of.· And in the memo it says any recent
10:25 25· decision, then the discussion begins about the


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    ·1· obligations of Brady.
    ·2· · · · · ·So to answer your question, we've always
    ·3· had discovery training and obligations in discovery,
    ·4· but I'm not aware until '98 that we discussed Brady
10:25 ·5· as it related.· So as an issue, discovery, yes.· An
    ·6· issue if you're saying Brady only and its decision,
    ·7· then that's separate.
    ·8· · · · · ·MS. PESSIS:· It might help if you -- if you
    ·9· drop the term "Brady" and expand it to "discovery,"
10:25 10· and then I think it would go much faster for you.
    11· · · · · ·MR. BOON:· It might, but that's not what
    12· I'm getting at.
    13· BY MR. BOON:
    14· · · Q.· ·You've a couple of times referenced the
10:25 15· year 1998, and I'm just trying to understand where
    16· you're getting that reference from.
    17· · · · · ·Is it your understanding that the "Brady v.
    18· Maryland" case was issued in 1998?
    19· · · A.· ·I believe that's what it said in the memo.
10:26 20· · · Q.· ·So it's your understanding that prior to
    21· 1998, there were no Brady obligations because that
    22· case had not yet been issued?
    23· · · · · ·MS. PESSIS:· Do you want him to look at the
    24· memo?
10:26 25· · · · · ·MR. BOON:· No.· I want him to answer the


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    ·1· question.
    ·2· · · · · ·MS. PESSIS:· Because he's not expected to
    ·3· memorize a memo of that length.
    ·4· · · · · ·But you can answer, if you know the answer.
10:26 ·5· · · · · ·THE WITNESS:· We've always had discovery
    ·6· obligations.· But the term "Brady" was not -- I'm
    ·7· not aware of it being a department document until
    ·8· 2000.
    ·9· · · · · ·And I believe -- I don't know if it's
10:26 10· the -- the cite says 1998 in the cite material.· I'm
    11· not sure if that's the appellate decision or -- you
    12· know, I'm not an attorney.· I'm not sure -- I just
    13· noticed that in the -- in the document.
    14· BY MR. BOON:
10:27 15· · · Q.· ·So as far as a L.A.P.D. designated P.M.K.
    16· on Brady issues, is it your understanding -- is it
    17· L.A.P.D.'s understanding that prior to 1998 there
    18· were not obligations under Brady based on your
    19· understanding that before 1998 the Brady case had
10:27 20· not yet been issued?
    21· · · · · ·MS. PESSIS:· Objection; misstates the
    22· testimony.
    23· · · · · ·THE WITNESS:· You're still using the term
    24· "Brady," and I'm not sure if we're talking about
10:27 25· Brady as any different than discovery.


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    ·1· · · · · ·We've always had discovery obligations I
    ·2· think since 1976.· So if you're saying -- we have
    ·3· had discovery obligations, but I'm not sure that the
    ·4· term "Brady" was implied or mentioned prior to that
10:27 ·5· memo in 2000.
    ·6· BY MR. BOON:
    ·7· · · Q.· ·Let's go back to a background question I
    ·8· asked when we talked about your understanding of
    ·9· Brady obligations.· And feel free to correct me if
10:28 10· I'm wrong, but you said something to the effect of
    11· to disclose exculpatory material to the prosecutor.
    12· · · · · ·Is that a fair assumption?
    13· · · A.· ·Yes.
    14· · · Q.· ·Fair characterization?· Okay.
10:28 15· · · · · ·That obligation under Brady to disclose
    16· exculpatory material to the prosecutor as far as the
    17· L.A.P.D. Brady training is concerned, did that not
    18· begin until 1998?
    19· · · A.· ·No.· I think that in 19 -- in 2000 when the
10:28 20· order came out, it expanded or more specifically
    21· explained what obligations we had related to Brady.
    22· · · · · ·Where before it was reciprocal discovery
    23· because the law had changed in, I believe, 1976, and
    24· then it went on to add that the categories of the
10:29 25· exculpatory evidence under Brady had to do with


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    ·1· prior inconsistent statements, issues -- it further
    ·2· defined what discovery obligations we had.
    ·3· · · · · ·But we had reciprocal discovery, I believe,
    ·4· again in 1976, before I came on to the department,
10:29 ·5· and that was the training up until 2000.· And then
    ·6· in 2000 under the Brady decision, it was more -- the
    ·7· definition was a little more specific.
    ·8· · · · · ·MS. PESSIS:· And again, I'll just state
    ·9· that the document to which he's referring has been
10:29 10· produced in discovery.· And it speaks for itself.
    11· BY MR. BOON:
    12· · · Q.· ·So now we're talking about in that response
    13· you mentioned, the 2000 memo.
    14· · · · · ·Prior to the 2000 memo, did the L.A.P.D.
10:29 15· have any training on the officer's affirmative
    16· obligations to disclose exculpatory material, as you
    17· understand that decision under Brady?
    18· · · A.· ·Yes.
    19· · · Q.· ·Talk to me about that training prior to the
10:30 20· year 2000.
    21· · · A.· ·Prior to --
    22· · · · · ·MS. PESSIS:· Well, how far are we going
    23· back?· Because we're not going to back to 1950
    24· because he was not around and not working for the
10:30 25· department.· So --


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    ·1· · · · · ·MR. BOON:· 1994 to 2000.
    ·2· · · · · ·MS. PESSIS:· Okay.
    ·3· · · · · ·THE WITNESS:· Our obligations from 1994 to
    ·4· 2000 was that the investigating officer's
10:30 ·5· responsible to turn over materials related to the
    ·6· case for discovery to the prosecutor on felony
    ·7· findings.
    ·8· · · · · ·The definition of "exculpatory" or, more
    ·9· specific, Brady information about the veracity of
10:30 10· the statement was in -- when that order came out in
    11· 2000 to make sure that's inclusive where before it
    12· was more you turned over all the relevant documents
    13· to your investigation.
    14· · · · · ·That was what was taught, I believe, in
10:30 15· detective school.· That was department policy, is
    16· that it's the detective investigating officer's
    17· responsibility to turn it over and not the discovery
    18· unit within the district -- the D.A.'s -- I'm
    19· sorry -- the city's policy was discovery on civil
10:31 20· matters.
    21· · · · · ·It goes out to the discovery unit and
    22· discovery from a criminal investigation comes from
    23· the investigating detective.
    24· BY MR. BOON:
10:31 25· · · Q.· ·When we're talking about discovery for the


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    ·1· purposes of these next few questions, I want to
    ·2· differentiate here between a discovery request and
    ·3· responding to it versus an affirmative obligation to
    ·4· turn over material whether there's a discovery
10:31 ·5· request or not.
    ·6· · · · · ·Is your understanding under Brady that the
    ·7· L.A.P.D.'s obligation is to turn over exculpatory
    ·8· material in response to a discovery request or is it
    ·9· to affirmatively turn over that material whether
10:31 10· there's a discovery request pending or not?
    11· · · · · ·MS. PESSIS:· Correct.· No.· It was vague.
    12· Thank you, sir.
    13· · · · · ·THE WITNESS:· Well, we have -- we entered
    14· into in the discussion in the training materials
10:32 15· that we are involved in informal discovery, and that
    16· we should provide all discovery available and that
    17· it says we have an affirmative obligation once the
    18· information becomes known up until trial to make
    19· sure that we turn over any materials that could be
10:32 20· considered exculpatory.
    21· BY MR. BOON:
    22· · · Q.· ·And is that, whatever you're going to
    23· phrase it as, a guidance or instruction or -- in
    24· that 2000 memo, is that affirmative obligation --
10:32 25· strike that.


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    ·1· · · · · ·Did that affirmative obligation you just
    ·2· discussed begin in the year 2000 for the L.A.P.D.?
    ·3· · · A.· ·No.
    ·4· · · Q.· ·When did that begin, if you know?
10:32 ·5· · · A.· ·I'm aware that in 1976 there was a
    ·6· published document that apparently the rules of
    ·7· discovery had been ruled on and changed and that it
    ·8· was the department's obligation now to turn over all
    ·9· evidence related to the case.· Apparently, before
10:33 10· that that was not the requirement or the state of
    11· law.
    12· · · · · ·MS. PESSIS:· And for the record, that
    13· document was produced by the City beginning at Page
    14· 236.
10:33 15· BY MR. BOON:
    16· · · Q.· ·Prior -- let's talk about 1994 to 2000.
    17· Let's talk about officer training.· Can you just
    18· talk to me about what within the curriculum for
    19· officer training the L.A.P.D. from the years 1994 to
10:33 20· 2000, as the P.M.K. on Brady training, how much
    21· training is there on Brady?· That's a bad question,
    22· I know, but I think you understand it.
    23· · · · · ·What is the general emphasis of the Brady
    24· training for officers from '94 to 2000?· And I'm
10:33 25· sure I'll have follow-ups, and we'll get more


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    ·1· specific.
    ·2· · · · · ·MS. PESSIS:· Okay.· So here's my objection:
    ·3· It's overly broad as stated in reference to
    ·4· officers.· That question could be interpreted to
10:34 ·5· mean the officers in the academy who haven't even
    ·6· graduated.
    ·7· · · · · ·So are you going to narrow it to detective
    ·8· school and working detectives being trained by elder
    ·9· detectives?
10:34 10· BY MR. BOON:
    11· · · Q.· ·If you understand the question, and then
    12· I'll narrow it as we go, but we're going to start
    13· broad.
    14· · · A.· ·The only training I'm aware of related to
10:34 15· Brady, as you phrased the question, was the 2000
    16· document, which would have been served upon each
    17· officer, and they would sign and acknowledge that,
    18· and there would probably have been rollcall
    19· discussion about it for the officers, detective
10:34 20· squad meetings for the detectives, and any
    21· instructional blocks in detective schools may have
    22· included that.
    23· · · · · ·But I'm not -- I have not reviewed those
    24· course curriculums to see if they mentioned Brady
10:34 25· specifically.


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    ·1· · · Q.· ·And again, you've referenced the 2000 memo
    ·2· in that response.
    ·3· · · · · ·My follow-up question is:· Was there any
    ·4· specific training on Brady prior to that 2000 memo
10:35 ·5· within the L.A.P.D.?
    ·6· · · · · ·MS. PESSIS:· Vague as to the term "Brady"
    ·7· based on his testimony.
    ·8· · · · · ·You can answer.
    ·9· · · · · ·THE WITNESS:· I'm not aware of a reference
10:35 10· to Brady as you mentioned it.· I am of discovery.
    11· BY MR. BOON:
    12· · · Q.· ·Does training insofar as it pertains to --
    13· we'll talk discovery now.· That's the more general
    14· term.· Discovery obligations, is that differentiated
10:35 15· between levels of an L.A.P.D. employee?· And by
    16· "employee" I mean is that differentiated between,
    17· say, an officer versus a detective?
    18· · · A.· ·Yes.
    19· · · Q.· ·Is there a heightened training on discovery
10:35 20· for a detective versus an officer?
    21· · · A.· ·Yes.
    22· · · Q.· ·Can you tell me about, then, the
    23· differentiation between an officer's training versus
    24· a detective's training on discovery obligations
10:36 25· between '94 and 2000?


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    ·1· · · A.· ·Yes.· An officer's requirements were to
    ·2· provide all reports, all statements in their arrest
    ·3· report at the time of booking, and they generally
    ·4· have to sign -- I believe at that time they'd
10:36 ·5· already instituted a policy of signing a discovery
    ·6· disclosure statement at the end of that report
    ·7· saying that they had provided all material.
    ·8· · · · · ·The detective's responsibilities are
    ·9· different in that the department policy is that an
10:36 10· investigating officer provides all discovery,
    11· including the officer's statement, and any of the
    12· detective's follow-up investigation to the
    13· prosecutor at the time of filing and up until the
    14· time of trial if any new information is developed.
10:36 15· · · Q.· ·You've referenced a discovery disclosure
    16· statement?
    17· · · A.· ·Yes.
    18· · · Q.· ·What is that?
    19· · · A.· ·It's a form -- I believe it's actually a
10:37 20· city attorney form at the end of an arrest report
    21· that requires the officer to sign a form that they
    22· had provided all documents, photographs, any
    23· evidence that they developed during their initial
    24· investigation.
10:37 25· · · Q.· ·Was that form in place between the years


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    ·1· '94 to 2000 inclusively?
    ·2· · · A.· ·Yes.
    ·3· · · Q.· ·And is that form a requirement for both
    ·4· officers and detectives?
10:37 ·5· · · A.· ·If it's been completed by the officer at
    ·6· the end of the arrest report.· Now, if I as a
    ·7· detective make an -- make my own arrest, a
    ·8· detective-initiated arrest when I did the arrest
    ·9· report, then I would be required to do the
10:37 10· disclosure forms.
    11· · · · · ·There's also the detective, when he files
    12· the case with the district attorney's office,
    13· sometimes an officer is required to sign a
    14· disclosure -- a discovery form as well,
10:37 15· acknowledgment that they have provided all
    16· discovery.
    17· · · Q.· ·So after the year 2000 -- you talked about
    18· this 2000 memo in which Brady allegations were set
    19· forth.
10:38 20· · · · · ·Fair characterization?
    21· · · A.· ·Yes.
    22· · · Q.· ·How was that determination made?· And more
    23· specifically, how was it determined whether a piece
    24· of information within the L.A.P.D. is, in fact,
10:38 25· Brady material that they're obligated to disclose?


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    ·1· · · · · ·MS. PESSIS:· Objection; overly broad,
    ·2· incomplete hypothetical, may call for speculation
    ·3· and a legal conclusion.
    ·4· · · · · ·You can answer.
10:38 ·5· · · · · ·THE WITNESS:· Can you repeat the question,
    ·6· please.
    ·7· BY MR. BOON:
    ·8· · · Q.· ·Sure.
    ·9· · · · · ·Since the 2000 memo, you said that there
10:38 10· are Brady obligations since the year 2000 to
    11· affirmatively disclose material; correct?
    12· · · A.· ·Correct.
    13· · · Q.· ·And that's to affirmatively disclose
    14· exculpatory material; correct?
10:38 15· · · A.· ·That's part of it, yes.
    16· · · Q.· ·How is that determination made?· In other
    17· words, if I have a piece of information as an
    18· L.A.P.D. detective --
    19· · · A.· ·Yes.
10:39 20· · · Q.· ·-- since the year 2000, how do I decide if
    21· that material is, in fact, exculpatory and,
    22· therefore, I'm required to disclose it?
    23· · · · · ·MS. PESSIS:· Objection; lacks foundation.
    24· · · · · ·THE WITNESS:· We turn over generally all
10:39 25· materials we have.· And that decision as to what is


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    ·1· exculpatory is made by the prosecutor.
    ·2· · · · · ·The Brady memo broadened, I think, the
    ·3· definition of what could potentially be discoverable
    ·4· as in the veracity of a witness statement or
10:39 ·5· something about their moral turpitude or background
    ·6· before we produce reports.
    ·7· · · · · ·Now we're talking more about the personal
    ·8· characterization of a witness or information known
    ·9· to us about a witness, an officer, the veracity of
10:39 10· his statement.
    11· BY MR. BOON:
    12· · · Q.· ·So that's a little bit different, then.· We
    13· talked earlier about disclosing exculpatory
    14· material, and you've just phrased it as producing
10:40 15· all materials to the prosecutor.
    16· · · · · ·MS. PESSIS:· Misstates the testimony.· He
    17· didn't say "all."
    18· · · · · ·MR. BOON:· I'm asking for clarification.
    19· · · · · ·THE WITNESS:· Generally, a detective is
10:40 20· going to produce their case book with their -- all
    21· information that's relevant to that investigation.
    22· BY MR. BOON:
    23· · · Q.· ·And that's since the year 2000?
    24· · · A.· ·Yes.
10:40 25· · · Q.· ·Prior to the year 2000, how were those


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    ·1· obligations different, prior to that 2000 memo?
    ·2· · · A.· ·I don't think they were different.· I just
    ·3· don't think that prior to that it wasn't as clear
    ·4· the detectives needed to discuss the veracity of the
10:40 ·5· witnesses or -- and that's what the memo discussed.
    ·6· That needs to be included.
    ·7· · · Q.· ·Is there any training on whether an officer
    ·8· or a detective since the year 2000 is obligated to
    ·9· turn over internal notes or memorandum pertaining to
10:41 10· a criminal defendant?
    11· · · · · ·MS. PESSIS:· I'm going to object to the
    12· time period since 2000, and it's vague.· It also may
    13· call for a legal conclusion.
    14· · · · · ·THE WITNESS:· Since 2000, were any -- our
10:41 15· notes or memorandums -- all notes need to be
    16· turned -- are to be turned over as part of regular
    17· discovery, including Brady.
    18· · · · · ·But that's always been an obligation, that
    19· we turn over notes relevant to a case.· I'm not
10:41 20· aware of what a memorandum will be.· We don't write
    21· memorandums on cases.
    22· BY MR. BOON:
    23· · · Q.· ·That's a broad term.
    24· · · A.· ·Okay.
10:41 25· · · Q.· ·Prior to the year 2000, was that obligation


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    ·1· in place within the L.A.P.D.?
    ·2· · · A.· ·Yes.
    ·3· · · Q.· ·How did that obligation change in the year
    ·4· 2000 based on this 2000 memo?
10:41 ·5· · · · · ·MS. PESSIS:· I'm just going to object; the
    ·6· memo speaks for itself.· And it's been asked and
    ·7· answered.
    ·8· · · · · ·THE WITNESS:· Again, it didn't change the
    ·9· initial discovery.· It just further defined what
10:42 10· could be considered discovery and what our
    11· obligations were.
    12· BY MR. BOON:
    13· · · Q.· ·But how was the determination made as to
    14· what is considered discovery?· And that goes back to
10:42 15· my question, if I'm a detective and I have a piece
    16· of information, how do I determine if that piece of
    17· information is, in fact, discovery that I'm
    18· obligated to disclose?
    19· · · A.· ·Based on its relevance to the case, you
10:42 20· make that decision.· If you run up a suspect, for
    21· instance, and you're looking at a suspect and he was
    22· in custody at the time of the crime and you've ruled
    23· him out, it wouldn't necessarily be every single
    24· computer check you did that didn't work out.
10:42 25· Although you worked it on a case, that wouldn't be


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    ·1· exculpatory.· It would be -- you wouldn't include it
    ·2· in the discovery.
    ·3· · · · · ·If it was relevant to your information, you
    ·4· would provide it in your discovery to the
10:43 ·5· prosecutor.
    ·6· · · Q.· ·And again, you're getting to the essence of
    ·7· my question.· You're talking about if it's relevant.
    ·8· If it's relevant, we turn it over to the prosecutor.
    ·9· How do I make that determination as an L.A.P.D.
10:43 10· detective if it's irrelevant?· Is it each detective
    11· makes the decision on their own?· Is there some
    12· supervisor who they go seek out and say, "Hey, help
    13· me with this decision"?
    14· · · · · ·How is that decision made?
10:43 15· · · A.· ·Well, we all have a basic understanding of
    16· the law from our training and experience.· And if
    17· it's relative -- relevant to the criminal
    18· investigation, you would include it.· If it's
    19· something that's been completely eliminated, then
10:43 20· you eliminate it.
    21· · · · · ·You may make a note about it in your chrono
    22· or something like that or you may not.· At every
    23· single run you do is -- it's just not possible to
    24· document every single thing you've thought about in
10:43 25· your head.


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    ·1· · · · · ·Relevance, you may go to a supervisor if
    ·2· you're not sure.· That's what the supervisor is
    ·3· there for.· You can go to that supervisor and ask
    ·4· questions, find out what their opinion would be
10:44 ·5· about it.
    ·6· · · Q.· ·As the L.A.P.D. P.M.K. on Brady training,
    ·7· what is your understanding of relevance?· That's a
    ·8· term you used throughout that answer.· What's your
    ·9· understanding of what is relevant and what's not
10:44 10· relevant?
    11· · · · · ·MS. PESSIS:· You mean to a case and to be
    12· turned over?· Is that a "yes"?· I'm not sure.· It's
    13· vague.
    14· BY MR. BOON:
10:44 15· · · Q.· ·As you phrased it within your response, you
    16· used to the term "relevant" periodically.· What's
    17· your understanding of what is relevant?
    18· · · A.· ·It has a direct correlation to the
    19· investigation.
10:44 20· · · Q.· ·Could potential third-party culpability be
    21· relevant to a case?
    22· · · A.· ·Absolutely.
    23· · · Q.· ·Could potential similar crimes be
    24· conducted -- being committed with a similar M.O. be
10:44 25· relevant to a case?


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    ·1· · · A.· ·Yes.
    ·2· · · Q.· ·So now we're talking about relevance, and
    ·3· that's another legal term.· You're not a lawyer, but
    ·4· I want to ask:· Is there training on what is
10:45 ·5· relevant within the L.A.P.D. prior to the year 2000?
    ·6· · · · · ·MS. PESSIS:· Objection; overly broad,
    ·7· incomplete hypothetical.
    ·8· · · · · ·THE WITNESS:· Not that I'm aware of.
    ·9· BY MR. BOON:
10:45 10· · · Q.· ·So the L.A.P.D. had no training prior to
    11· the year 2000 on what is considered relevant
    12· information to a criminal case?
    13· · · A.· ·Training was that we -- actually, the
    14· training we provided is that we turn over all
10:45 15· materials.· I don't believe it has the term
    16· "relevant" in it.· I'm just giving that as my
    17· example.
    18· · · Q.· ·Do you know -- this may very well be
    19· outside the scope of the question -- how many times
10:45 20· the L.A.P.D. has been sued civilly for violating
    21· Brady -- for allegations of violating Brady, if you
    22· know?
    23· · · · · ·MS. PESSIS:· That's a better question.
    24· · · · · ·THE WITNESS:· I do not know.
10:46 25· ///


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    ·1· BY MR. BOON:
    ·2· · · Q.· ·You talked about officer academy earlier.
    ·3· Is there a different set of curriculum course
    ·4· training that detectives go to during their training
10:46 ·5· process before becoming an L.A.P.D. detective that
    ·6· is different than officer academy?
    ·7· · · A.· ·Yes.
    ·8· · · Q.· ·How long -- what is that called?
    ·9· · · A.· ·There's a detective school.
10:46 10· · · Q.· ·How long is detective school?
    11· · · A.· ·I believe it's changed over the years, but
    12· I think in most periods it's been two weeks.
    13· · · Q.· ·Prior to the year 2000, 1994 to 2000, was
    14· detective school, a fair characterization, about two
10:46 15· weeks?
    16· · · A.· ·I believe so.
    17· · · Q.· ·And that's in addition to officer training
    18· or in lieu of officer training?
    19· · · · · ·MS. PESSIS:· Vague as to "officer
10:47 20· training."· Are you talking about patrol training or
    21· academy training, or both?
    22· · · · · ·THE WITNESS:· Every detective has been to
    23· patrol training to make it to detective.· So that's
    24· inclusive of a detective.
10:47 25· · · · · ·Training is an ongoing requirement by the


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    ·1· state.· So to answer your question, everybody gets a
    ·2· certain amount of training to maintain their POST
    ·3· certificate, and then a detective gets more training
    ·4· at detective school and generally has to either work
10:47 ·5· in an investigative assignment where they get direct
    ·6· training from a supervisor and then likely review
    ·7· the relevant material before taking the examination
    ·8· to make detective, which I would also consider
    ·9· training and reviewing of materials.
10:47 10· BY MR. BOON:
    11· · · Q.· ·So there is an examination you have to pass
    12· on after your two weeks of training to become a
    13· detective?
    14· · · A.· ·No.
10:47 15· · · Q.· ·You referenced examination.· I'm just
    16· trying to clarify what you meant by that.
    17· · · A.· ·You take the examination.· If you pass the
    18· examination, you then take an oral interview.· You
    19· take an oral interview.· You're placed on a list
10:48 20· when the opportunities present.· If you are
    21· promoted, then generally at that point you're
    22· assigned to detective school.
    23· · · · · ·However, sometimes people sign up and go to
    24· detective school before they ever take the test.
10:48 25· · · Q.· ·So since the year 2000, you've got this


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    ·1· 2000 memo which talks about Brady.· There's this
    ·2· two-week detective school.· Is Brady discussed or
    ·3· taught during the two-week detective school since
    ·4· the year 2000?
10:48 ·5· · · · · ·MS. PESSIS:· You mean the word "Brady"?
    ·6· BY MR. BOON:
    ·7· · · Q.· ·The obligations under Brady.
    ·8· · · · · ·MS. PESSIS:· Okay.· That's a different
    ·9· question, then.
10:48 10· · · · · ·THE WITNESS:· Discovery, I'm sure, is an
    11· instructional block.· But I don't know if they used
    12· the specific term "Brady," and that if and when it
    13· got inserted into the curriculum because the memo
    14· didn't come out until 2000.
10:49 15· BY MR. BOON:
    16· · · Q.· ·But based on your understanding of the fact
    17· that the memo came out in the year 2000, it would be
    18· a fair assumption to make, then, that prior to the
    19· year 2000 there was no reference to Brady in
10:49 20· detective school; is that correct?
    21· · · · · ·MS. PESSIS:· Objection; irrelevant.· And it
    22· also calls for speculation as you've phrased it.
    23· · · · · ·THE WITNESS:· Is it fair to say -- I don't
    24· know what an instructor said in the class, if he
10:49 25· mentioned the term "Brady."· He may have.· I didn't


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    ·1· sit through each and every class.· So I only went
    ·2· through it once, and it was much earlier.
    ·3· BY MR. BOON:
    ·4· · · Q.· ·When did you go through detective school?
10:49 ·5· · · A.· ·I believe it was probably around in the
    ·6· '90s.· 'Early '90s.
    ·7· · · Q.· ·But based on your understanding that this
    ·8· memo came out in the year 2000 in the L.A.P.D.
    ·9· discussing Brady obligations, based on that
10:49 10· understanding and as you sit here today as the
    11· P.M.K. on Brady training for the L.A.P.D., is it a
    12· fair assumption to make that prior to the year 2000,
    13· Brady obligations were not taught at detective
    14· school?
10:50 15· · · · · ·MS. PESSIS:· Misstates the testimony.
    16· · · · · ·THE WITNESS:· I believe discovery
    17· obligations were taught in the -- in the school, but
    18· I don't know if the term "Brady" at what point, if
    19· ever, it was added to the curriculum prior to 2000.
10:50 20· BY MR. BOON:
    21· · · Q.· ·You said "if ever."· Is Brady in the
    22· current curriculum for detective school?
    23· · · A.· ·I would have to look at the course outline.
    24· Like I said, I have not been back to the school, and
10:50 25· I don't know if they discussed it as Brady or if


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    ·1· it's under an instructional block as discovery.· The
    ·2· course evolves and changes over different periods of
    ·3· time.
    ·4· · · Q.· ·And just for clarification -- because I
10:51 ·5· feel I'm coming down with something; so we're going
    ·6· to take a break here in a minute.· I need some
    ·7· water.· It's been a long month.
    ·8· · · · · ·We've talked a lot in this deposition about
    ·9· time frames.· And I'm talking about the years '94 to
10:51 10· 2000, and you're talking about this 2000 memo.· Bear
    11· with me.
    12· · · · · ·Is it a fair characterization that between
    13· '94 and 2000, the L.A.P.D. had no training on Brady
    14· because that memo did not come out until the year
10:51 15· 2000?
    16· · · A.· ·No.
    17· · · · · ·MS. PESSIS:· I'm sorry.· It misstates the
    18· testimony.
    19· · · · · ·MR. BOON:· It's asking for clarification.
10:51 20· · · · · ·MS. PESSIS:· I don't think so.
    21· · · · · ·But you can repeat your answer, but that
    22· should be the last time.· It's been asked many
    23· times.
    24· · · · · ·THE WITNESS:· I believe the term "Brady" in
10:51 25· department training material was first referenced in


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    ·1· 2000.
    ·2· BY MR. BOON:
    ·3· · · Q.· ·So it was not referenced in L.A.P.D.
    ·4· training prior to the year 2000?
10:52 ·5· · · A.· ·Training materials, published materials
    ·6· that I'm aware of, correct, prior to 2000.
    ·7· · · Q.· ·Would it surprise you if I told you that
    ·8· the Brady decision came down in 1963?
    ·9· · · · · ·MS. PESSIS:· Objection; the memorandum
10:52 10· speaks for itself.· He's not here to challenge you
    11· on what year Brady was issued.· The Court is well
    12· aware of when Brady was issued, and that's all that
    13· matters.
    14· · · · · ·THE WITNESS:· It surprises me that it was
10:52 15· that far along before we had a memo on it, but I'm
    16· not sure what changed.
    17· BY MR. BOON:
    18· · · Q.· ·So it surprises you that between 1963 and
    19· the year 2000 the L.A.P.D. had no training on Brady
10:52 20· even though that decision had been in place for
    21· nearly 40 years?
    22· · · · · ·MS. PESSIS:· Objection; misstates the
    23· testimony and it also misstates the documents my
    24· office has produced.
10:53 25· · · · · ·THE WITNESS:· There are many court


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    ·1· decisions, and until they became relevant to the
    ·2· department or become training material, the genesis
    ·3· of when they were created and when the decisions
    ·4· were made, it does not surprise me, no.
10:53 ·5· BY MR. BOON:
    ·6· · · Q.· ·So from the L.A.P.D.'s perspective, then,
    ·7· the Brady decision did not become relevant to
    ·8· training material until the year 2000; is that a
    ·9· fair characterization?
10:53 10· · · · · ·MS. PESSIS:· Misstates the testimony.
    11· · · · · ·THE WITNESS:· Brady material -- discovery
    12· has always been a requirement dating back to '76.
    13· The actual decision or reference to the decision or
    14· as it's defined in the memo didn't become relevant
10:53 15· until 2000.
    16· BY MR. BOON:
    17· · · Q.· ·So Brady obligations weren't relevant to
    18· curriculum training within the L.A.P.D. prior to the
    19· year 2000; is that correct?
10:53 20· · · · · ·MS. PESSIS:· Objection; misstates the
    21· testimony.· It also lacks foundation as to the time
    22· period before he joined the department.
    23· · · · · ·THE WITNESS:· Discovery has always been a
    24· requirement, but the term "Brady" I'm not aware of
10:54 25· being utilized in training material before 2000.


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    ·1· BY MR. BOON:
    ·2· · · Q.· ·And I'm not talking specifically about the
    ·3· term "Brady."· I'm talking about the obligations
    ·4· under Brady, which when we went through that
10:54 ·5· background introductory phase, you described as
    ·6· disclosing exculpatory material.
    ·7· · · · · ·So did that Brady obligation to disclose
    ·8· exculpatory material not become relevant to the
    ·9· L.A.P.D.'s curriculum and training until the year
10:54 10· 2000?
    11· · · A.· ·No, that's not my testimony.· We've always
    12· had reciprocal discoveries since 1976 which would
    13· include exculpatory evidence.· You asked me for a
    14· quick definition of what Brady was, and Brady more
10:54 15· defined what could be considered exculpatory
    16· including the veracity of witnesses and prior
    17· inconsistent statements and things to that -- in
    18· that nature.
    19· · · Q.· ·You said Brady more defined, what could be
10:54 20· considered discovery or discovery material; right?
    21· · · A.· ·Yes.
    22· · · Q.· ·How did Brady more define that?· And I
    23· guess a better question is:· If Brady more defined
    24· what could be considered, you know, exculpatory or
10:55 25· discovery material, how was what was considered


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    ·1· discovery material prior to Brady different from
    ·2· what was considered discovery material after Brady?
    ·3· · · · · ·MS. PESSIS:· Objection; the memorandum
    ·4· speaks for itself.· It's Page 298 in discovery.
10:55 ·5· · · · · ·MR. BOON:· I don't think I've asked one
    ·6· question on the memorandum.
    ·7· BY MR. BOON:
    ·8· · · Q.· ·You can answer.
    ·9· · · A.· ·I just think it further defined and made it
10:55 10· clear what could be considered exculpatory material
    11· over and above written statements and documents
    12· produced in discovery, more about individuals'
    13· backgrounds.
    14· · · Q.· ·And I just ask for clarification.· You said
10:55 15· a few times "further defined."· What do you mean by
    16· that?
    17· · · · · ·MS. PESSIS:· Objection; asked and answered.
    18· · · · · ·So here's my problem with the line of
    19· questioning:· He's been referring to this memo.· For
10:56 20· some reason you're not showing it to him.
    21· · · · · ·As soon as you're done questioning him, I'm
    22· going to show it to him.· I think we should just get
    23· to the point.· The memo speaks for itself about the
    24· case law.
10:56 25· · · · · ·So I'm just trying to help you out and


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    ·1· speed this along because I think we're wasting time.
    ·2· We're not getting anywhere.· And you've asked him
    ·3· the same questions, counsel, about five times each.
    ·4· · · · · ·MR. BOON:· Can I have the question
10:56 ·5· repeated, please.
    ·6· · · · · ·(The record was read as follows:
    ·7· · · · · ·Q· And I just ask for clarification.
    ·8· · · · · ·You said a few times "further
    ·9· · · · · ·defined."· What do you mean by that?)
10:56 10· · · · · ·THE WITNESS:· Again, it discussed more
    11· about the veracity of a witness than it discussed
    12· actual written documents and materials.
    13· BY MR. BOON:
    14· · · Q.· ·So those things weren't considered
10:56 15· discovery material back to that 2000 memo?
    16· · · · · ·MS. PESSIS:· Considered by whom?· Vague.
    17· · · · · ·THE WITNESS:· I think -- I'm sorry.· Repeat
    18· the question one more time.
    19· · · · · ·(The record was read as follows:
10:56 20· · · · · · Q· So those things weren't considered
    21· · · · · · discovery material back to that
    22· · · · · · 2000 memo?)
    23· · · · · ·THE WITNESS:· Discovery prior to that was
    24· all written documents and case files relevant to the
10:57 25· investigation and they were provided.· I don't think


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    ·1· at that point that they were doing -- memo clarifies
    ·2· that the individual's veracity and prior
    ·3· inconsistent statements and even officer's personnel
    ·4· packages were now part -- subject to part of the
10:57 ·5· discovery that the Pitchess motion was brought
    ·6· against an officer.
    ·7· BY MR. BOON:
    ·8· · · Q.· ·We talked a lot about this 2000 memo.
    ·9· Prior to the year 2000, is there any documentation
10:58 10· the L.A.P.D. has for training on Brady obligations?
    11· · · A.· ·Again, you're referring to Brady
    12· obligations.· We -- inclusive in Brady is discovery.
    13· We've always had discovery policy all the way back
    14· to 1976 and within our manual as far as who's
10:58 15· responsible for it.· So we've always had a policy on
    16· discovery.
    17· · · · · ·MR. BOON:· Could you read back the
    18· question, please.
    19· · · · · ·(The record was read as follows:
10:57 20· · · · · · Q· We talked a lot about this 2000
    21· · · · · · memo.· Prior to the year 2000, is there
    22· · · · · · any documentation the L.A.P.D. has for
    23· · · · · · training on Brady obligations?)
    24· · · · · ·THE WITNESS:· I believe I've answered that.
10:58 25· · · · · ·MS. PESSIS:· He answered the question.


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    ·1· He's not going to answer it again.· He's answered it
    ·2· about five times, Counsel.· This is really just
    ·3· ridiculous.
    ·4· BY MR. BOON:
10:59 ·5· · · Q.· ·I'm not talking about discovery.· I'm
    ·6· talking about Brady obligations.
    ·7· · · · · ·Is there any documentation that the
    ·8· L.A.P.D. had for training its detectives on
    ·9· Brady-specific obligations prior to the year 2000?
10:59 10· · · · · ·MS. PESSIS:· He's answered the question.
    11· Brady includes discovery.· He stated it perfectly.
    12· · · · · ·Has your answer changed?
    13· · · · · ·THE WITNESS:· I believe Brady and discovery
    14· are inseparable at this point.· It's just a -- when
10:59 15· you say "Brady obligations," it rounded out what the
    16· -- what the definition was of discovery.
    17· · · · · ·Can we take that break now?
    18· · · · · ·MR. BOON:· Yes.· I need some water.
    19· · · · · ·THE VIDEOGRAPHER:· We're going off the
10:59 20· record.· The time is 10:59 A.M.
    21· · · · · ·(Whereupon, a recess was held
    22· · · · · ·from 10:59 to 11:16 A.M.)
    23· · · · · ·THE VIDEOGRAPHER:· We're going back on the
    24· record.· The time is 11:16 A.M.
11:16 25· ///


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    ·1· BY MR. BOON:
    ·2· · · Q.· ·Thank you, detective.· I promised you I'd
    ·3· be efficient.· We're going to go back to the
    ·4· background phrase real quick.
11:16 ·5· · · · · ·Prior to today's deposition, did you review
    ·6· the L.A.P.D.'s training materials from the year 1994
    ·7· to 2000?
    ·8· · · A.· ·I reviewed some of the materials.
    ·9· · · Q.· ·But you understand you're the designated
11:17 10· P.M.K. on Brady training from '94 to 2000?
    11· · · A.· ·Yes.
    12· · · Q.· ·Did you review detective school training
    13· from '94 to 2000?
    14· · · A.· ·No.
11:17 15· · · Q.· ·Did you review -- what did you review?
    16· · · A.· ·I reviewed the 2000 document, the 1976
    17· document for discovery.· I reviewed the 1995, I
    18· believe it's department legal bulletin regarding
    19· discovery obligations, and then some documents
11:17 20· post-2000 related to Brady.
    21· · · Q.· ·Do you believe that you've met your
    22· obligations as the P.M.K. on Brady training for the
    23· L.A.P.D. from '94 to 2000?
    24· · · A.· ·I've never been given a set of guidelines
11:17 25· of what the obligations were; so I don't know if


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    ·1· I've met them.
    ·2· · · Q.· ·But you believe you adequately prepared to
    ·3· testify on that issue?
    ·4· · · A.· ·Yes.
11:18 ·5· · · Q.· ·And you believe you've adequately testified
    ·6· on that issue on behalf of the department today?
    ·7· · · A.· ·No.
    ·8· · · Q.· ·"No"?
    ·9· · · A.· ·No.
11:18 10· · · Q.· ·Why not?
    11· · · A.· ·Because I made an error.
    12· · · Q.· ·Okay.· What's that error?
    13· · · A.· ·I reviewed a March 2000 bulletin, and in
    14· that bulletin it says 1998, but I didn't realize
11:18 15· that was regarding the Brown decision, which is also
    16· quoted right after the -- the Brady decision, which
    17· was 1963.
    18· · · Q.· ·But the memorandum --
    19· · · A.· ·I didn't read it carefully enough.· So I
11:18 20· just wanted that -- I didn't get that accurate.
    21· · · Q.· ·Thank you for clarifying that.· But the
    22· memorandum was the year 2000; correct?
    23· · · A.· ·Yes.
    24· · · · · ·MR. BOON:· I don't think I have anything
11:18 25· further.


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    ·1· · · · · ·MS. PESSIS:· Okay.· I have some questions.
    ·2· I'm going to be brief.· I'm going to attach some
    ·3· items to the transcript.
    ·4· · · · · ·Did we place a number on this one,
11:18 ·5· Mr. Boon?
    ·6· · · · · ·MR. BOON:· 31.
    ·7· · · · · ·MS. PESSIS:· That's 31?· Okay.· No.
    ·8· Actually, yes.· To help you out, I will take
    ·9· pictures.· Thank you.· Okay.· So we're going to
11:19 10· start with Number 32.· These are the --
    11· · · · · ·DEPOSITION OFFICER:· This was Number 1?
    12· · · · · ·MS. PESSIS:· I think we started at --
    13· · · · · ·MR. BOON:· 31.
    14· · · · · ·DEPOSITION OFFICER:· 31.
11:19 15· · · · · ·MS. PESSIS:· It should be 31.
    16· · · · · ·DEPOSITION OFFICER: Thank you.
    17· · · · · ·MS. PESSIS:· This is Number 32, and I'm
    18· going to mark it.· These are the objections prepared
    19· by me, served by my office to the P.M.K. deposition
11:19 20· notice.· I'm just going to show them to the witness.
    21· The proof of service is dated September 29, 2017.
    22· · · · · · ·(Whereupon, Defendant's Exhibit 32
    23· · · · · · ·was marked for identification by
    24· · · · · · ·the Court Reporter.)
    25· ///


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    ·1· · · · · · · · · · ·EXAMINATION
    ·2· BY MS. PESSIS:
    ·3· · · Q.· ·Please take a look at those, detective, and
    ·4· let us know if you recognize them and, if so, how do
11:19 ·5· you recognize them.
    ·6· · · · · ·(Document reviewed by the witness.)
    ·7· · · · · ·THE WITNESS:· I have reviewed these prior
    ·8· to today's deposition.· So, yes, I do recognize
    ·9· them.
11:20 10· BY MS. PESSIS:
    11· · · Q.· ·Okay.· Thank you.
    12· · · · · ·Would you kindly hand those to the court
    13· reporter to your right-hand side.
    14· · · · · ·Next I am going to attach for the record as
11:20 15· Exhibit Number 33...
    16· · · · · ·MR. BOON:· Do you have copies for me,
    17· Counsel, of the documents here attached to the
    18· record?
    19· · · · · ·MS. PESSIS:· I don't because I thought you
11:21 20· were going to bring them.· So I did not make copies,
    21· but I'll hand it to you before I hand it to the
    22· witness.
    23· · · · · ·Exhibit 33 for today's deposition is the
    24· following document:· "Defendant Los Angeles Police
11:21 25· Department's Supplemental Responses and Objections


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    ·1· to Plaintiff Louis Lorenzo Vargas's Demand For
    ·2· Inspection and Production of Documents."
    ·3· · · · · ·Below in parens is "Request Number 40,"
    ·4· served by my office on September 14, 2017.· Attached
11:21 ·5· to the responses are documents Bates labeled "Vargas
    ·6· L.A.P.D." Pages 234 through 237.
    ·7· · · · · ·I'm going to hand them to Mr. Boon so he
    ·8· can just look at them and then I'm going to show it
    ·9· to the witness.
11:21 10· · · · · · ·(Whereupon, Defendant's Exhibit 33
    11· · · · · · ·was marked for identification by
    12· · · · · · ·the Court Reporter.)
    13· · · · · · ·(Documents reviewed by the witness.)
    14· BY MS. PESSIS:
11:21 15· · · Q.· ·Directing your attention, detective, to
    16· Pages 234 through 237, please take a look at those
    17· and let me know if you recognize the documents.
    18· · · A.· ·Yes, I recognize the documents.
    19· · · Q.· ·How do you recognize those documents?
11:22 20· · · A.· ·These are the two documents I reviewed --
    21· two of the documents I reviewed in preparation for
    22· today's testimony.
    23· · · Q.· ·Directing your attention to Page 234,
    24· please read into the record the title of the
11:22 25· document including any dates that you see there.


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    ·1· · · A.· ·"Los Angeles Police Department Legal
    ·2· Affairs Division Newsletter," dated -- stamped --
    ·3· well, it's actually got a date of May 1995.· It says
    ·4· "Issue Number 4" and then it says "Received," stamp
11:22 ·5· on it, "May 31st, 1995, Planning" and I believe it's
    ·6· supposed to say Research Division.· That's
    ·7· R-e-s-e-a.
    ·8· · · Q.· ·And in essence, what does the document
    ·9· speak to, sir, as you understand it?
11:23 10· · · A.· ·This discusses the obligations of discovery
    11· and whose responsibilities discovery is under
    12· various circumstances.
    13· · · Q.· ·Thank you.
    14· · · · · ·Next I would like to direct your attention,
11:23 15· sir, to Page 236.· Could you please read into the
    16· record the title of that document and include the
    17· date as well?
    18· · · A.· ·"Legal Bulletin Los Angeles Police
    19· Department Legal Systems Section, Volume I, Issue 4,
11:23 20· Criminal Discovery, February 9th, 1976."
    21· · · Q.· ·What is your understanding of the content
    22· of that document, sir?
    23· · · A.· ·It's the document I reviewed in preparation
    24· for today, and I believe this was the status of
11:23 25· discovery requirements through the period we're


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    ·1· talking about today, 1994 through 2000.
    ·2· · · Q.· ·Thank you.· Kindly hand that to the
    ·3· reporter.
    ·4· · · · · ·MR. BOON:· For clarification, Counsel,
11:23 ·5· these have all been produced in discovery?
    ·6· · · · · ·MS. PESSIS:· Yes.· They're all Bates.
    ·7· · · · · ·Next is Exhibit 34 --
    ·8· · · · · ·MR. BOON:· I'd just add that when
    ·9· referencing them, can you reference them by the
11:24 10· Bates stamp just for the record so we --
    11· · · · · ·MS. PESSIS:· No.· He did.
    12· · · · · ·MR. BOON:· Okay.
    13· · · · · ·MS. PESSIS:· Those are all the Bates
    14· numbers.
11:24 15· · · · · ·MR. BOON:· Thanks.
    16· BY MS. PESSIS:
    17· · · Q.· ·Next I'm going to direct your attention to
    18· an additional set of documents.· Those are marked
    19· Exhibit 34.· Please take a look at those.
11:24 20· · · · · · ·(Whereupon, Defendant's Exhibit 34
    21· · · · · · ·was marked for identification by
    22· · · · · · ·the Court Reporter.)
    23· · · · · · ·(Document reviewed by the witness.)
    24· BY MS. PESSIS:
11:24 25· · · Q.· ·Do you recognize those two pages?


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    ·1· · · A.· ·I do.
    ·2· · · Q.· ·And how do you recognize them?
    ·3· · · A.· ·This was another piece of material that I
    ·4· reviewed in preparation for today.· It's "Detective
11:24 ·5· Operations Manual" on the front, prepared by
    ·6· Investigative Analysis Section, Detective Services
    ·7· Group, Operation Headquarters Bureau, dated
    ·8· September 15th, 1986, Bates stamped Vargas-L.A.P.D.
    ·9· 290.
11:24 10· · · Q.· ·And based on your background, education,
    11· training, and experience, is it your recollection at
    12· this time that the Detective Operations Manual
    13· published on or about September 15, 1986, was in
    14· effect until approximately the year 1999 and 2000?
11:25 15· · · A.· ·Yes.
    16· · · Q.· ·Okay.· And directing your attention to Page
    17· 291 and to Section 132 of Volume I, do you see that,
    18· sir?
    19· · · A.· ·Yes, I do.
11:25 20· · · Q.· ·What is the title of that section?
    21· · · A.· ·"Factually Innocent."
    22· · · Q.· ·And can you please tell us what that
    23· directs an officer, or I should say a detective, to
    24· do if he or she discovers or believes that an
11:25 25· individual may be innocent?


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    ·1· · · A.· ·It says "if determined that an arrestee is
    ·2· factually innocent, then the detective shall
    ·3· generate a 314 follow-up report to an arrest report
    ·4· and crime report (if any)," in parentheses, "and
11:25 ·5· shall record the information supporting the
    ·6· determination of factual innocence."
    ·7· · · Q.· ·Thank you --
    ·8· · · A.· ·And sent -- I'm sorry.
    ·9· · · Q.· ·Thank you.· Go ahead and please hand that
11:25 10· to the court reporter.
    11· · · · · ·The next exhibit is Exhibit 35.· Let me
    12· just ask Madam Reporter a question.· There does not
    13· appear to be enough room for the sticker on the
    14· bottom.· Should I put it on the top?· Is that okay?
11:26 15· · · · · ·DEPOSITION OFFICER:· Yes. Thank you.
    16· · · · · ·MS. PESSIS:· All right.· Thank you.
    17· · · · · · ·(Whereupon, Defendant's Exhibit 35
    18· · · · · · ·was marked for identification by
    19· · · · · · ·the Court Reporter.)
11:26 20· · · · · ·MS. PESSIS:· I'm now showing Detective
    21· Jenks Exhibit 35.
    22· BY MS. PESSIS:
    23· · · Q.· ·Please take a look at that, sir.
    24· · · · · ·(Document reviewed by the witness.)
11:26 25· · · · · ·THE WITNESS:· I've reviewed it.


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    ·1· BY MS. PESSIS:
    ·2· · · Q.· ·Do you recognize that document?
    ·3· · · A.· ·I do.
    ·4· · · Q.· ·Did you see that document before today?
11:26 ·5· · · A.· ·Yes, I did.
    ·6· · · Q.· ·Did you review that document in addition to
    ·7· other materials in order to prepare for today's
    ·8· deposition?
    ·9· · · A.· ·I did.
11:26 10· · · Q.· ·Please read into the record, sir, the title
    11· of the document, including the date.
    12· · · A.· ·"Office of the Chief of Police,
    13· · · · · ·Memorandum Number 1," dated March
    14· · · · · ·1st, 2000.· "Subject:· Impact of
11:26 15· · · · · ·employee conduct on credibility as
    16· · · · · ·a witness."
    17· · · Q.· ·I'm going to ask you to read further into
    18· the record, beginning at the word, "A series of case
    19· decisions" all the way down to the word "biased,"
11:27 20· where I am now pointing.· Go ahead and read at your
    21· own pace and try to err on the side of being more
    22· slow for the court reporter.
    23· · · · · ·MR. BOON:· I'd just lodge that the document
    24· speaks for itself.· Improper reading of documents on
11:27 25· the record but --


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    ·1· · · · · ·MS. PESSIS:· No --
    ·2· · · · · ·MR. BOON:· -- go ahead.
    ·3· · · · · ·Ms. PESSIS:· -- I want him to go ahead and
    ·4· read it.· Go ahead.
11:27 ·5· · · · · ·THE WITNESS:· "A series of case
    ·6· · · · · ·decisions beginning with Brady v.
    ·7· · · · · ·Maryland 373 U.S. 83 (1963) and
    ·8· · · · · ·including in re. Brown 17 Cal.
    ·9· · · · · ·4th 873" -- parentheses -- "(1998)
11:27 10· · · · · ·require the prosecution to reveal
    11· · · · · ·to the defense information that
    12· · · · · ·may be exculpatory in nature,
    13· · · · · ·including potential impeachment
    14· · · · · ·information.
11:27 15· · · · · · · ·"Potential impeachment information
    16· · · · · ·may include, but is not strictly
    17· · · · · ·limited to, specific instances of
    18· · · · · ·conduct of a witness for the purpose
    19· · · · · ·of attacking a witness's credibility
11:27 20· · · · · ·or character for truthfulness,
    21· · · · · ·evidence in the form of opinion or
    22· · · · · ·reputation as to the witness's
    23· · · · · ·character for truthfulness, prior
    24· · · · · ·inconsistent statements and
11:28 25· · · · · ·information that may be used to


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    ·1· · · · · ·suggest that a witness is biased."
    ·2· BY MS. PESSIS:
    ·3· · · Q.· ·Thank you.· I may just have a few more
    ·4· questions here.
11:28 ·5· · · · · ·Based on the content of the memo, was it
    ·6· your understanding that discovery, meaning the
    ·7· production of written materials, was expanded as to
    ·8· the scope to include possibly information which
    ·9· would impeach a detective or other involved
11:29 10· officers' credibility?
    11· · · A.· ·Yes.
    12· · · · · ·MS. PESSIS:· All right.· That's all I have
    13· for now.· Go ahead and pass that back for the
    14· reporter.
11:29 15· · · · · ·Thank you for your stickers.
    16· · · · · ·MR. BOON:· I think -- correct me if I'm
    17· wrong because we didn't clarify it fully yesterday.
    18· The stipulation, is it a two-week turnaround on the
    19· court reporter's generation of the transcript and a
11:29 20· three-week turnaround for the witness to review,
    21· analyze, make any corrections and sign the
    22· transcript?
    23· · · · · ·MS. PESSIS:· The stipulation does not
    24· usually include the reporter's turnaround.· The
11:29 25· industry standard, as I've understood it from almost


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    ·1· 20 years of practicing, is two weeks.· If you opt to
    ·2· expedite that, that would be at the plaintiff's
    ·3· expense.· I am not asking for any such expedited
    ·4· copy.
11:29 ·5· · · · · ·So the stipulation would only pertain to
    ·6· the time within which Detective Jenks will have the
    ·7· opportunity to review and sign the transcript.· And
    ·8· then it would also speak to the retention of the
    ·9· original, the making available of the original and
11:30 10· the lodging of the original.
    11· · · · · ·So the court reporter's turnaround is
    12· between the two of you.· I have no involvement in
    13· that.
    14· · · · · ·MR. BOON:· I understand that.· The primary
11:30 15· emphasis of my question was the turnaround from the
    16· witness.· Is that stipulation three weeks from the
    17· witness's receipt of the transcript?
    18· · · · · ·MS. PESSIS:· It's usually my receipt.
    19· Technically -- to be technical, it's my receipt, and
11:30 20· then I contact him --
    21· · · · · ·MR. BOON:· That's fine.
    22· · · · · ·MS. PESSIS:· And then if I find out, let's
    23· say, he was -- because he handles high-profile cases
    24· as well, he could be called out of the country, who
11:30 25· knows.· So that's when I would contact you and say


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    ·1· that time window will not work.
    ·2· · · · · ·But three weeks is fine for us.· So do you
    ·3· want me to propose the stipulation?
    ·4· · · · · ·MR. BOON:· I think I've tried asking a
11:30 ·5· couple times.· Is the stipulation three weeks from
    ·6· your office's receipt of the transcript to
    ·7· turnaround?
    ·8· · · · · ·MS. PESSIS:· I can stipulate to that, but
    ·9· we need to state it a little more artfully for the
11:31 10· record.
    11· · · · · ·MR. BOON:· Go ahead, Counsel.
    12· · · · · ·MS. PESSIS:· Okay.· At this time, the
    13· parties agree to relieve the videographer and the
    14· court reporter of their duties pursuant to the
11:31 15· Federal rules of Civil Procedure.
    16· · · · · ·The original transcript will be delivered
    17· to my office to my attention.· I will then make it
    18· available to Detective Jenks as soon as possible and
    19· subject to his availability.
11:31 20· · · · · ·He will have three weeks from the date I
    21· receive the transcript to review the same absent any
    22· unforeseen circumstances of which I will make
    23· counsel aware at the earliest opportunity.
    24· · · · · ·I will then advise all counsel in writing
11:31 25· that the deposition has been signed and of any


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    ·1· changes that the witness may make if that occurs.
    ·2· · · · · ·My office will then retain the original
    ·3· deposition transcript.· It will be made available
    ·4· upon reasonable request, and if there is a trial in
11:31 ·5· this matter, the deposition transcript will be
    ·6· lodged in accordance with the trial date at the
    ·7· appropriate time.
    ·8· · · · · ·I further propose that we stipulate that in
    ·9· the event that the original transcript from this
11:32 10· deposition is lost, misplaced, destroyed, or
    11· otherwise cannot be located, that a certified copy
    12· is served in its place for any and all purposes.
    13· · · · · ·So stipulated?
    14· · · · · ·MR. BOON:· So stipulated.
11:32 15· · · · · ·DEPOSITION OFFICER:· Would you like to
    16· order a certified copy?
    17· · · · · ·MS. PESSIS:· I would.· Thank you so much,
    18· ma'am.
    19· · · · · ·THE VIDEOGRAPHER:· This is the end of Media
11:32 20· Number One with the conclusion of today's deposition
    21· of Detective Dan Jenks.· Going off the record.· The
    22· time is 11:32 A.M.
    23· · · · · ·(Whereupon the deposition proceedings
    24· · · · · · · ·were concluded at 11:32 a.m.)
    25· · · · · · · · · · · · · -o0o-


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   ·1· STATE OF CALIFORNIA· · ·)
   · · · · · · · · · · · · · · ) ss.
   ·2· COUNTY OF LOS ANGELES· ·)

   ·3

   ·4

   ·5· · · · · · · ·I, DETECTIVE DAN JENKS, declare under

   ·6· penalty of perjury that the foregoing testimony is

   ·7· true and correct to the best of my knowledge and

   ·8· belief.

   ·9

   10· · · · · ·Dated this ___ day of ____________, 2017.

   11

   12

   13· · · · · · · · · · ________________________________

   14· · · · · · · · · · · · · (DETECTIVE DAN JENKS)

   15

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   23

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   ·1· STATE OF CALIFORNIA· ·)

   ·2· COUNTY OF LOS ANGELES ) ss.

   ·3

   ·4· · · · · ·I, Samantha Avenaim, C.S.R. No. 10627 in

   ·5· and for the State of California, do hereby certify:

   ·6· · · · · ·That prior to being examined, the witness

   ·7· named in the foregoing deposition was by me duly

   ·8· sworn to testify to the truth, the whole truth, and

   ·9· nothing but the truth;

   10· · · · · ·That said deposition was taken down by me

   11· in shorthand at the time and place therein named and

   12· thereafter reduced to typewriting under my

   13· direction, and the same is a true, correct, and

   14· complete transcript of· said proceedings;

   15· · · · · ·That if the foregoing pertains to the

   16· original transcript of a deposition in a Federal

   17· Case, before completion of the proceedings, review

   18· of the transcript {X} was { } was not required.

   19· · · · · ·I further certify that I am not interested

   20· in the· event of the action.

   21· · · · · ·Witness my hand this 31st day of October,

   22· 2017.

   23· · · · · · · · · · ____________________________

   24· · · · · · · · · · Certified Shorthand Reporter
   · · · · · · · · · · · For the State of California
   25


                            Personal Court Reporters, Inc.
                                     800-43-DEPOS                           Page 77
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                                       #:5862

brett@bennerboon.com

From:                 brett@boonlawoffice.com
Sent:                 Wednesday, May 15, 2019 3:43 PM
To:                   'Geoff Plowden'
Cc:                   'Stiglitz, Jan'; 'Simpson, Alex'; 'Craig Benner'
Subject:              RE: MIL's


Geoff,

Thanks for reaching out as I was just about to contact you on the scheduling issues. The primary reason I was going to
reach out was that Defendants scheduled their Summary Judgment Motion for June 10th. Based on today’s filing, this is
less than the requisite 28‐day notice requirement. As such, please re‐notice Defendants’ Summary Judgment Motion for
June 17th, otherwise Plaintiff will not be afforded the aforementioned, requisite 28‐day notice period. If you disagree,
please advise your reasoning and authority.

As an additional note, Defendants’ conclusions of law numbers 6 and 7 state that Plaintiff failed to provide a notice of
claim prior to filing. This is patently untrue after a cursory review of the record. Please review and file a Notice of Errata.

As far as the MILs, we understand that perhaps they are “usually” heard at the times you suggest. However, the federal
and local rules allow for filing and hearing MILs anytime at or before the pretrial conference. As such, Plaintiff is
permitted to schedule his motions to be heard as currently scheduled, and unless you provide authority otherwise,
would prefer to leave them as scheduled for a variety of reasons. Given the importance of these motions for all parties
as discussed at yesterday’s meeting, it is unclear why Defendants would seek to delay them. Further, and in contrast to
Defendants’ MSJ, Plaintiff provided the full 28‐day notice for the MILs, so we see no reason to move them.

Please advise on the MSJ issues. If you’d like to discuss, feel free to give me a call on my cell.

Kind regards,

Brett A. Boon, Esq.
411 Camino Del Rio South, Suite 106
San Diego, CA 92108
P: (619) 358‐9949 || F: (619) 365‐4926

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From: Geoff Plowden <geoffrey.plowden@lacity.org>
Sent: Wednesday, May 15, 2019 3:14 PM
To: Brett Boon <brett@boonlawoffice.com>
Subject: MIL's

Can we stipulate and agree the MILS will be calendared/renoticed and heard at the Final Pretrial Conference (6/17 at 3
pm)? Only the Motion for summary adjudication of the Monell claim was calendared for 6/10. That is usually how its
done, if not heard at first day of trial.


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The plaintiff's motion to permit experts can remain for 6/10.

Let me know.


‐‐
Geoffrey Plowden
Deputy City Attorney
Police Litigation Section
200 N. Main Street #600
Los Angeles, CA 90012
213‐978‐7038 ph.
213‐978‐8785 fx.

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                                       #:5864

brett@bennerboon.com

From:                 brett@boonlawoffice.com
Sent:                 Wednesday, May 22, 2019 4:41 PM
To:                   'Geoff Plowden'; 'Stiglitz, Jan'; 'Craig Benner'; 'Simpson, Alex'
Subject:              RE: Vargas


Geoff,

We understand that the Court has ruled that three are no post‐conviction Brady obligations in this case. That said, we
strongly believe that this issue is ripe for appeal and therefore preserved the appellate record in MSJ briefings
subsequent to this ruling. Pursuant to this Order, plaintiff does not intend to introduce evidence of post‐conviction
sexual assaults or the teardrop rapist investigation during the Brady phases of trial.

As far as the briefing schedule for Defendants’ MSJ, we disagree. At the 4/15 hearing, Judge Wilson ordered Defendants
to file their MSJ by 5/15 but did not order a briefing schedule. Although the clerk may have discussed this informally and
after the hearing concluded, Judge Wilson made no such order and likewise did not include any such order in his
minutes following the hearing in which Defendants’ 5/15 deadline was memorialized. See Dkt. No. 188.

Further, following Defendants’ filing of their MSJ and likely due to it being done so without affording Plaintiff the
requisite 28‐day notice period, the Court reset the MSJ hearing for 6/17. See Dkt. No. 201. As a result and pursuant to
Local Rule 7‐9, Plaintiff’s opposition is due 21 days prior to the hearing date, which falls on Monday May 27th and
Defendants’ reply due the following Monday. Had the Court intended to set an alternative briefing schedule, this
certainly would have made it into one of the two minute orders on the issue and any informal conversation with the
clerk following the 4/15 hearing does not qualify as a court order. Also, as previously stated, although this Monday is a
holiday electronic filing via Pacer can still be accomplished.

As far as the therapist deposition, we will touch base with her on scheduling. We have not been given authority to
accept service on her behalf but will inquire about this as we have with the other damage witnesses in an effort to
expedite the process. We will reach out to her regarding charts as well, and although I can’t make that promise right
now if you provide a form HIPAA release for our review tomorrow that would be a good starting point.

Kind regards,

Brett A. Boon, Esq.
411 Camino Del Rio South, Suite 106
San Diego, CA 92108
P: (619) 358‐9949 || F: (619) 365‐4926

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From: Geoff Plowden <geoffrey.plowden@lacity.org>
Sent: Wednesday, May 22, 2019 2:49 PM
To: Brett Boon <brett@boonlawoffice.com>; Stiglitz, Jan <js@cwsl.edu>; Craig Benner <Craig@bennerlawfirm.com>;
Simpson, Alex <ajs@cwsl.edu>
Subject: Re: Vargas
                                                                1
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Attached is Exhibit 200, previously produced in discovery, but now in binder format.The blank pages correspond to
numbered index tabs. Any description of this as withheld discovery is baseless and counterproductive.

This is the question I posed that I was hoping for a response to: "At our meeting last week, I mentioned that my
understanding was that the evidence plaintiff intended to rely on to establish his brady claim were the 10 or 11
unrelated crime reports in the 1996‐1999 time period, that Judge Wilson enumerated in his 8/7/18 order. Jan agreed.
However, in reading the expert reports, it seems to me there is an argument that the evidence plaintiff relies on also
includes the LAPD's attacker series rape book and DNA associated with a "teardrop rapist." As those matters were not
considered or known to defendants Quijano and Smith, and that the attacker series book was created in 2001 by other
LAPD personnel, well after the relevant time period in this case, I'd like to be certain we're on the same page for trial
and preparation of pretrial documents. There is no repondeat superior liability on behalf of the City, so the conduct of
these two detectives is what is at issue.
Please confirm the evidence which will be discussed involves the limitations we discussed at the meeting. If not, please
tell me how I've misstated the position of plaintiff."

SO, I'll ask again (with all of plaintiff's counsel on this thread), will the plaintiff be limiting the evidence of withheld Brady
material to the 10‐11 reports id'd by Judge Wilson in the 8/7/18 order? If not, I will advise the Court in a motion in
limine that you intend to contravene his orders and discuss matters beyond what he has ruled on in three written
opinions as relevant evidence of a Brady claim. IF I have this wrong, please let me know what I'm missing here.

I will depose the treater in Santa Maria (2 hours tops), with a request for a copy of her chart in advance. Please advise
when that can happen and I'll send notice (I have 6/5 ‐ 6/7 open). IF she needs to be subpoenaed, it will likely be on a
date in that time frame.

Finally, attached is the separate statement in word. Per the clerk's briefing schedule, the opp is due 5/22 and the reply
5/29




                  200.pdf




On Wed, May 22, 2019 at 12:48 PM <brett@boonlawoffice.com> wrote:

 Geoff,



 We will pass along the exhibit and witness lists for you to insert Defendants’ information. I believe we can still file
 Monday because it is Pacer / electronic filing, but we will work towards getting this on docket Friday.



 With respect to the MIL, we disagree but will review Defendants’ MIL in good faith and if there is an opportunity for a
 stipulation at that time we will touch base with you. As far as a motion to exclude the doctor, Defendants have not yet
 started discovery into damages issues, there is no discovery cutoff in this case, and trial is still more than thirty days
                                                                2
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away. There is no prejudice to Defendants and no scheduling order has been violated. For your convenience, we will be
removing Dr. Stein from Plaintiff’s witness list and inserting a therapist with whom Mr. Vargas has visited in the past
and continues to do so. Her information is as follows:



Denys Medel, LMFT

Phone: (805) 623‐4007

Address:         920 South Broadway, Suite B

                 Santa Maria, CA



Additionally, your email and multiple discussions over the past week indicate that Defendants are providing additional
discovery this week which has been inexplicably delayed. Importantly, the documents you have described relate
directly to Plaintiff’s Brady claim and Defendants’ contended defenses thereto. With that in mind, any motion as you
describe below will be opposed and is not well taken.



As far as Defendants’ exhibit 200, please provide this electronically today as we previously discussed would be done as
soon as the document was finalized. If for some reason this is not an available option, and I am not sure why it would
not be, please bring a copy for me to tomorrow’s deposition and send via courier to Messrs. Benner and Mr. Stiglitz.
Mr. Stiglitz’s correct mailing address is as follows:



Law Offices of Jan Stiglitz

14462 Garden Trail

San Diego, CA 92127



We are all set for depositions tomorrow. On a related topic, you will receive a notice shortly for Robin Allen’s
deposition on 5/28, as you and I previously discussed.



Finally, please provide Defendants’ separate statement in support of their pending MSJ in Microsoft Word / non‐PDF
format.



Feel free to give me a call if you want to discuss any of these issues further. I will be available after 2 pm through the
remainder of the day.


                                                             3
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                                      #:5867


Thanks,




Brett A. Boon, Esq.

411 Camino Del Rio South, Suite 106

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From: Geoff Plowden <geoffrey.plowden@lacity.org>
Sent: Wednesday, May 22, 2019 11:40 AM
To: Brett Boon <brett@boonlawoffice.com>
Subject: Vargas



Did you start the joint exhibit list? The pretrial documents are due Friday. We can do it if you send me your portion in
word.



Did not hear back from you on the subsequently created materials/Attacker series subject matter MIL. Please let me
know your position. Also, I will move to exclude doctors, per Rule 37, as those still not have been disclosed to
defendants.



The serial rapist book (Exh. 200) is done and a copy is in my office for pick up. I can send it today, via ground delivery
but that will get there late Thursday. There was screw up with pagination of each page within the book, but that will be
fixed for trial.



The stipulated facts for phase 2 you were gonna work on. I will work on stipulated facts for the criminal trial.



                                                            4
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                                        #:5868
 Depos are going forward tomorrow here at my office.



 Thanks.




 ‐‐

 Geoffrey Plowden

 Deputy City Attorney

 Police Litigation Section

 200 N. Main Street #600

 Los Angeles, CA 90012

 213‐978‐7038 ph.

 213‐978‐8785 fx.


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